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                                     UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
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     JENNIFER L. COOK, d/b/a JL Cook, JL Cook       CASE NO.:
11   Sculptor and SNAKEARTS.COM,
12                   Plaintiff,                     COMPLAINT (CLASS ACTION)
13      vs.
                                                    (Jury Trial Demanded)
14   META PLATFORMS, INC., f/k/a FACEBOOK,
     INC.,
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                     Defendant.
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 1          Plaintiff Jennifer L. Cook d/b/a “JL Cook,” “JL Cook Sculptor” and “SnakeArts.com”

 2   (“Plaintiff” or “JL Cook”), and others similarly situated, by and through her undersigned counsel, brings

 3   this class action seeking monetary and injunctive relief against Defendant Meta Platforms, Inc. f/k/a

 4   Facebook, Inc. (“Facebook” or “Defendant”). Plaintiff alleges the following upon the investigation of

 5   counsel, and upon information and belief, except as to those allegations that specifically pertain to

 6   Plaintiff, which are alleged upon personal knowledge.

 7                                                INTRODUCTION

 8          1.       Facebook, a multi-billion-dollar advertising company disguised as a social media

 9   platform, is the source and cause of some of the most detrimental and largest e-commerce scams, the

10   majority of which are connected to Facebook advertisements that violate unfair competition laws and

11   several sections of the Copyright Act.

12          2.       Facebook publishes and displays millions of copyright infringing images every single

13   day. Copyright infringement on the site has been called both “out of control” and an online “epidemic.” 1

14          3.       Facebook’s core business function is to sell ads. On its face, the site is a social media

15   platform used to connect people online, but the social media platform is simply the means to the end.

16   Every day, Facebook knowingly displays, publishes, controls, communicates and directs infringing,

17   stolen images, which it has previously copied and stored, to its users through revenue generating

18   advertisements.

19          4.       The bulk of Facebook’s billions of dollars in annual revenue comes from advertising—a

20   practice in which Facebook actively participates through the use of algorithms that approve and deny

21   ads based on the ads’ content, human moderators that further review ads, for both legality and aesthetics

22   prior to and after the ads are published, and other algorithms that connect ads to specific users, without

23   the assistance or input of the advertiser.

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      Rob Price, Facebook’s Copyright Infringement Epidemic, THE DAILY DOT (Oct. 29, 2014),
     https://www.dailydot.com/upstream/facebook-video-content-id-copyright-infringement/ (last visited
28   Apr. 19, 2022).

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 1          5.       Facebook makes money every time it is able to trick one of its users into clicking on a

 2   scam advertisement. This is to the direct detriment of the owners of the images and the creators and

 3   owners of the unlawfully advertised products or pieces of art.

 4          6.       Facebook infringes copyrights, and facilitates, enables, and simplifies copyright

 5   infringement by others, to pad its own bottom line. The social media giant uses repeat counterfeiters

 6   and copyright infringement to the detriment of copyright owners, who create images and works that are

 7   used to advertise and sell counterfeit goods on Facebook’s platform. Facebook’s exploitation of small

 8   business owners and struggling artists is harmful to both the survival of small businesses and the

 9   creativity the Copyright Act is designed to protect and encourage.

10          7.       Over the last decade, Facebook has become one of the largest and fastest growing online

11   advertisers in the world. Since its creation in 2004, Facebook’s daily, monthly, and annual user base

12   has grown by the billions.

13          8.       Facebook’s response to its growth has lacked any substantial increase in advertisement

14   policing, a more robust takedown program in connection with the Digital Millennium Copyright Act

15   (“DMCA”) or reasonable protection of Creators’ (as defined herein) intellectual property rights. This is

16   intentional because a substantial percentage of Facebook’s ad revenue comes from advertisements

17   related to counterfeit scams.

18          9.       In typical Facebook fashion, the social media giant not only denies any responsibility for

19   the mass copyright infringement it perpetrates on its site, but also claims to be “proactively” removing

20   “potential counterfeit or copyright infringement before it [is] reported” by the Creators. 2 Facebook is

21   not proactive in the fight against copyright infringement on its site, it is to blame for the problem.

22          10.      Facebook knows the prevalence of scams on its site. In fact, an internal Facebook report

23   from November 2018 identified that 40 percent of its pages traffic directed users to pages that stole or

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       Mark Fiore, How We’re Proactively Combating Counterfeits and Piracy, META (May 19, 2021),
     https://about.fb.com/news/2021/05/how-were-proactively-combating-counterfeits-and-piracy/ (last
28   visited Apr. 19, 2022).

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 1   recycled most of their content.3 Upon information and belief, this number has dramatically increased

 2   since 2018.

 3          11.     Facebook’s supposedly “robust” takedown program is anything but, particularly with

 4   respect to disabling who it knows to be repeat copyright infringers. For instance, from June to September

 5   of 2021, Plaintiff, alone, reported sixty-five pages/accounts and hundreds of infringing ads to Facebook

 6   for violating her copyright rights through the display, distribution, derivative copying and sale of

 7   counterfeit versions of her artwork. As of the date of this Complaint, those accounts are still active

 8   Facebook accounts.     Facebook, despite actual and apparent knowledge of these pages/accounts’

 9   infringing behavior, allows the pages/accounts to continue using the platform to advertise counterfeit

10   products, displaying stolen images, and victimizing legitimate Creators and copyright holders.

11          12.     Facebook has become one of the largest breeding grounds for foreign e-commerce scams.

12   The scams generally involve third party, Counterfeiters (“Counterfeiters”) who steal images of unique,

13   one-of-a-kind artworks or products directly from business owners’ websites, or social media accounts

14   (“Creative Works”) and use those images to advertise counterfeit products for sale on Facebook as their

15   own, often for a heavily discounted price. This directly infringes the exclusive rights held by the owners

16   and creators of the works (“Creators”) and unfairly competes with the legitimate business owners.

17          13.     Facebook uses its more than three billion users and ad targeting algorithms, which draw

18   from user data that has been catalogued and categorized based upon users’ likelihood to respond to ads,

19   to entice Counterfeiters to pay for ads on the site. Facebook then uses its algorithms to directly connect

20   Counterfeiters with Counterfeit ad victims, and Facebook profits from making these connections.

21   Without Facebook, Counterfeiters could not reach such an immense number of potential customers.

22          14.     Through the Facebook Ad Platform, legitimate advertisers and Counterfeiters alike can

23   be certain that their ads make it to interested consumers. If the ads are not reaching the right audience,

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     3
      Keith Hagey, Facebook Allows Stolen Content to Flourish, Its Researchers Warned, THE WALL
     STREET JOURNAL (Nov. 9, 2018, 4:43 PM ET), https://www.wsj.com/articles/facebook-stolen-content-
26   copyright-infringement-facebook-files-11636493887?mod=article_inline (last visited Feb. 16, 2022).

27   Kim Lyons, Artists are Plying Takedown Whack-A-Mole to Fight Counterfeit Merch, THE VERGE,
     (Feb. 11, 2022, 8:00 AM ET), https://www.theverge.com/22924353/artists-counterfeit-merch-
28   facebook-amazon-etsy-dmca (last visited Feb. 16, 2022).

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 1   Facebook tracks that data and provides an opportunity to monitor the directed advertisements to obtain

 2   better results, or in some cases uses its data and resources to target users without any input from the

 3   Counterfeiters.

 4          15.        Until very recently, Facebook guaranteed results through a money back guarantee for

 5   any advertisement that did not achieve the advertiser’s desired result. 4 For example, in instances where

 6   Counterfeit ads are not achieving the desired results (high click rates or views) Facebook modifies the

 7   targeted user base, using its own data and resources, thereby communicating or displaying the ads to

 8   users the Counterfeiters would not otherwise reach or consider targeting with the ads. Facebook may

 9   also do this when the Counterfeiter has not spent the entirety of their proposed ad budget. 5

10          16.        Facebook uses information it collects from billions of user profiles and user selected

11   preferences to create an inventory of data that it can exploit for ad revenue. Then, Facebook inputs that

12   information into its algorithm to deliberately and knowingly direct Counterfeiter Ads to specific users

13   who fall into certain categories--- a determination Facebook makes without material input from the

14   Counterfeiters.

15          17.        Facebook connects Counterfeiters to Facebook users based upon the users’ interests,

16   certain statistics and user preferences. Facebook then calculates who will be most interested in the

17   advertised products and shows those advertisements to those users. Counterfeiters do not assist

18   Facebook in determining which Facebook users should see which advertisements.                    Indeed,

19   Counterfeiters never have access to this data.

20          18.        Copyright infringement on Facebook, and sites like it, is harmful to both consumers and

21   Creators. If a Facebook user makes a purchase through a Counterfeiter’s ad or linked website, the user

22   receives a cheap knockoff of the advertised product, or nothing at all. The users pay for a product that

23   they never receive, suffering easily cognizable damages.

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       https://www.facebook.com/business/gelp/201828565289?id6293384416215 (last visited Dec. 7,
     2021).
27   5
       Recently, Facebook updated this money guarantee policy to state that decisions about refunds are
     “made at [Facebook’s] sole discretion and without admission of liability.” About Refunds,
28   FACEBOOK.COM, https://www.facebook.com/business/help/626428078224265?id=1468738389987593

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 1          19.     The Creators have their copyrights violated, lose out on sales and, in the case of artist

 2   products, the scams cause irreparable damage to the integrity of the art created and the reputation of the

 3   artist. This violates the Creators’ exclusive ownership rights, including display, duplication, and

 4   distribution, which are protected by statute.

 5          20.     It can be common for online service providers (in this case, Facebook) to be used as a

 6   device for scams. In fact, Congress enacted a safe harbor to protect both online service providers and

 7   Creators. The safe harbor is the DMCA. The DMCA gives Creators a way to have their content removed

 8   from websites that are using it without authorization. If online service providers take reasonable

 9   measures to stop copyright infringement, DMCA also provides them protection from liability for hosting

10   infringing content—for which they would otherwise be liable.

11          21.     For DMCA protection, the online service provider cannot: (1) have a role in posting the

12   infringing material; (2) have knowledge that the content violated a copyright; and (3) profit from the

13   infringing material. Facebook violates all three and cannot claim any DMCA protections.

14          22.     Facebook directly facilitated copyright infringement on its site through the storage of

15   infringing images on its computers or systems and display of the images on its site to its users. Facebook

16   had knowledge of the infringement on its site and profited directly from the infringement.

17          23.      Moreover, pursuant to DMCA and to receive safe harbor protection, Facebook was

18   required to follow certain policing guidelines to prevent copyright violations. This includes creating,

19   implementing and reasonably enforcing a specific copyright infringement policy that includes a promise

20   to take down any infringing content upon notification that it exists and to remove Repeat Infringers (a

21   Facebook account, page or advertiser that a Creator reported to Facebook as violating their exclusive

22   ownership rights (copyright or trademark) on more than one occasion). While Facebook purports to

23   have a copyright infringement policy and a Repeat Infringer policy, it does little to implement or enforce

24   either. If it did, Counterfeiters would go elsewhere with their scams.

25          24.     Facebook has failed to police its site, and in some cases deliberately encouraged

26   copyright violative ads from Counterfeiters. As a result, Facebook has fostered an explosion in scams

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 1   and exploitation of Creators and the billions of people who use its sites. 6 It is Facebook’s own direct

 2   infringement and its failure to comply with basic policies and precautions, particularly relating to Repeat

 3   Infringers (as defined herein) that disqualifies the social media giant from safe harbor protection and

 4   gives rise to this action.

 5           25.     Facebook knowingly assists and encourages Counterfeiters. This is particularly true for

 6   Repeat Infringers. Creators can notify Facebook of a Counterfeiter’s use of an infringing photograph in

 7   an advertisement and, even if Facebook manages to take that ad down, more ads, using the same image

 8   will pop up on the site and other sites immediately.

 9           26.     Facebook’s powerful ad tools and lax enforcement helped it become the preferred

10   platform of shady affiliate marketers that target people with scams and use false claims and infringing

11   photographs to entice users to pay for products that never arrive or are far from what was promised.

12   This is ruining Creators’ ability to publish their work out of fear that it will be immediately ripped off.

13           27.     The stolen and infringing images Facebook publishes unfairly compete with legitimate

14   business owners and infringe copyrights, both of which create direct liability for Facebook pursuant to

15   Federal and State unfair competition laws and the Copyright Act. Facebook is also contributorily liable

16   for its facilitation, enablement, and simplification of the copyright infringement by others, to pad its own

17   bottom line.

18           28.      This is a complaint for the violations of various Federal and State unfair competition

19   laws and intellectual property laws arising from Facebook’s use of stolen images for ad revenue and

20   direct infringement of Plaintiff’s and the Class’s exclusive right to display and distribute Registered

21   Works and Facebook’s participation, and contributions to the advertising and sale of creative works and

22   products that constitute inferior knockoff duplications of copyrighted and protected products. Plaintiff

23   and the Class also seek to enforce certain artistic moral rights pursuant to the Visual Artists Rights Act

24   (“VARA”) and other related violations.

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      Craig Silverman, Facebook Gets Paid, BUZZFEED NEWS, (Dec. 10, 2021, 5:44 PM ET),
     https://www.buzzfeednews.com/article/craigsilverman/facebook-ad-scams-revenue-china-tiktok-
28   vietnam (last visited Apr. 19, 2022).

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 1             29.     Plaintiff seeks monetary, declaratory, and injunctive relief against Facebook for its

 2   violations of various unfair competition laws, direct and contributory copyright infringement, vicarious

 3   liability, violation of DMCA, Violation of the Visual Art Rights Act (“VARA”), and unjust enrichment.
                                                    PARTIES
 4
 5             30.     JL Cook is and at all relevant times was a resident of the State of Florida. She is an artist
 6   and engages in the development and sale of artistic and unique representations of reptiles. This includes
 7   creating, among other things, jewelry, detailed prototypes for the toy and games industries, and
 8   monumental architectural elements and restorations. JL Cook does business as “JL Cook,” “JL Cook
 9   Sculptor,” and “SNAKEARTS.” She registered two of her works, the “Python” and the “Matched Pair
10   Rattlesnake Entrance Sculptures” (collectively “Plaintiff’s Registered Works”) with the U.S. Copyright
11   Office. The U.S. Copyright Office issued certificates for Plaintiff’s Registered Works that establish
12   Jennifer Cook as the prima facie copyright owner.
13             31.     Multiple Counterfeiters, through various URLs and company names, stole pictures of
14       Plaintiff’s Registered Works from her own websites and posted those images in infringing Facebook
15       ads—hundreds of times. The Counterfeiters or Facebook removed JL Cook’s identifying marks from
16       the images they used in the ads and advertised Plaintiff’s Registered Works as their own products for a
17       significantly discounted price.
18             32.     Facebook, the site that makes this scamming possible, is a publicly traded Delaware
19       corporation with its principal place of business located within this District at 1 Hacker Way, Menlo
20       Park, California 94025. On October 28, 2021, CEO Mark Zuckerberg introduced “Meta,” (Meta
21       Platforms, Inc.) which combines all Facebook owned applications and technologies under one new
22       company brand. Meta is headquartered at 1 Hacker Way, Menlo Park, California 94025. The company
23       has offices in more than 80 cities worldwide, including across North America, Latin America, Europe,
24       Middle East, Africa, and Asia Pacific. 7
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         Our Mission, META, https://about.facebook.com/company-info/ (last visited Jan. 18, 2022).

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 1              33.      At all times relevant, Facebook was and continues to be engaged in the business of

 2       advertising and selling goods on its platforms, together with third-party advertisers—many of which

 3       are Counterfeiters. Facebook’s largest source of income is advertisement revenue. 8

 4                               JURISDICTION, VENUE AND CHOICE OF LAW
 5              34.      This action is for and related to copyright infringement and arises under the Copyright

 6       Act of the United States (17 U.S.C. § 101) by virtue of the Defendant’s direct infringement of the rights

 7       of Plaintiff, and others similarly situated, along with Defendant’s inducement and encouragement of,

 8       and material contributions to, the unauthorized display, distribution, and creation of derivative works

 9       embodying Registered Works owned and/or controlled by Plaintiff and the other members of the Class.

10              35.      This Court has exclusive jurisdiction of this action under § 1338(a) of the Judicial Code

11       (28 U.S.C. § 1338(a)). 9 This Court also has diversity jurisdiction under 28 U.S.C. § 1332.

12              36.      This Court has personal jurisdiction over Facebook because it transacts business in this

13       State, and because the conduct alleged in this Complaint occurred in, was directed from, and/or

14       emanated from California.

15              37.      Venue is proper in this District under 28 U.S.C. §1391 and § 1400(a) because Facebook

16       is headquartered in this District, and conducts business transactions in this District, and because the

17       wrongful conduct giving rise to this case occurred in, was directed from, and/or emanated from this

18       District.

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21     Matthew Johnston, How Facebook (Meta) Makes Money, INVESTOPEDIA, investopedia.com (in upper
     right corner, enter in search “how Facebook makes money”; then select the first result) (last visited
22   Apr. 20, 2022).
     9
       To the extent any portion of this action is governed by Facebook’s Terms of Service (“Terms”), which
23   Plaintiff is not conceding, the Terms contain a choice of law and venue provision providing as follows:
             For any claim, cause of action, or dispute you have against us that arises out of or relates to these
24           Terms or the Facebook Products (“claim”), you agree that it will be resolved exclusively in the
25           U.S. District Court for the Northern District of California, or a state court located in San Mateo
             County. You also agree to submit to the personal jurisdiction of either of these courts for the
26           purpose of litigating any such claim, and that the laws of the State of California will govern these
             Terms and any claim, without regard to conflict of law provisions.
27
     Terms of Service, FACEBOOK.COM, https://www.facebook.com/terms.php (last visited Dec. 6, 2021).
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 1          38.     This action should be assigned to the San Francisco Division of this Court since a

 2   substantial part of the events giving rise to the claims occurred in counties within this Division, to wit:

 3   Facebook’s offices are in San Mateo County; notice of infringement is sent to San Mateo County; and

 4   the inducement occurred in San Mateo County.

 5                                               DEFINITIONS
 6          39.     "Creators” are defined for the purposes of this Complaint as individuals who create and

 7   own, original works of authorship.

 8          40.     “Creative Works” are defined for the purposes of this Complaint as original works

 9   designed and fixed by a Creator.

10          41.     “Registered Owners” are defined for the purposes of this Complaint as the owner of a

11   copyright that has been registered with the United States Copyright Office.

12          42.     “Registered Works” are defined for the purposes of this Complaint as copyrights that

13   have been registered with the United States Copyright Office prior to the infringement or within three

14   months of publication.

15          43.     “Counterfeiters” are defined for the purposes of this Complaint as persons who

16   unlawfully use images of Creative Works or Registered Works in Facebook advertisements to advance

17   e-commerce counterfeiting scams.

18          44.     “Counterfeiter Ads” are defined for the purposes of this Complaint as advertisements that

19   unlawfully use images of Creative Works or Registered Works to advance e-commerce scams.

20          45.     “Repeat Infringer” is defined for the purposes of this Complaint as a Facebook advertiser

21   that Creator(s) or Registered Owner(s) reported to Facebook as violating exclusive ownership rights on

22   more than one occasion.

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     COMPLAINT (CLASS ACTION)                                                                            9
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 1                                FACEBOOK TERMS AND CONDITIONS
 2           46.    Facebook has several policies, terms of use, and rules, including a Terms of Service,

 3   Commercial Terms, and Facebook Advertising Terms and Conditions. All of these internal policies

 4   require both Facebook and its users and advertisers to comply with relevant laws.

 5   Terms of Service
 6           47.    According to Facebook’s Terms of Service, Facebook does not charge its users to use the

 7   site.   Instead, businesses and organizations, including Counterfeiters, pay Facebook for running

 8   advertisements. Facebook uses the personal data of its users to determine which ads to show them. The

 9   site touts: “We can show [users] relevant and useful ads without telling advertisers who [the users] are.”

10           48.    The Terms of Service bar Facebook users from using any of Facebook’s products to do

11   or share anything that: (1) violates the Terms, Community Standards, and other terms and policies that

12   apply to use of its products; (1) is unlawful, misleading, discriminatory or fraudulent; or (3) infringes or

13   violates someone else’s rights, including their intellectual property rights. If a user violates the Terms

14   of Service, Facebook can remove or restrict access to content.

15           49.    Specifically, Facebook’s Terms of Service states:

16           If we determine that you have clearly, seriously, or repeatedly breached our Terms or
             Policies, including in particular our Community Standards, we may suspend or
17           permanently disable access to your account. We may also suspend or disable your account
             if you repeatedly infringe other people’s intellectual property rights or where we are
18           required to do so for legal reasons.
19   Commercial Terms
20           50.    The Commercial Terms apply if a user accesses or uses Facebook Products for any

21   commercial or business purpose, including advertising, operating an app on the Meta Platform, using

22   Facebook measuring services, managing a group or a Page for a business, or selling goods or services.

23           51.    These terms require users to represent and warrant that their access or use of Facebook

24   for business or commercial purposes complies with all applicable laws, rules, and regulations.

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 1   Facebook Advertising Terms and Conditions
 2           52.    The Facebook Advertising Terms and Conditions specify what types of ad content is

 3   allowed on the site. In addition, this is where Facebook lists its Copyright Infringement and Repeat

 4   Infringer policies.

 5           53.    Facebook’s copyright infringement policy states:
 6           Ads must not contain content that infringes upon or violates the rights of any third party,
             including copyright, trademark, privacy, publicity, or other personal or proprietary rights.
 7
             Advertising Policies: Prohibited Content, Section 9.
 8
             54.    Facebook’s repeat infringer policy states:
 9
             In addition to removing content and bad actors when they are reported, we disable the accounts
10           of repeat infringers where appropriate. We also take other actions before someone can become
             a repeat infringer, such as imposing temporary feature limits or removing access to certain
11           product features like Marketplace.
12           Repeat Infringer Policy10
13        55. Facebook violated, and continues to violate its Terms of Service, Commercial Terms, and
14
             Advertising Terms through the conduct described herein.
15
16                                        FACTUAL ALLEGATIONS

17   I.      Creators have exclusive ownership rights to their Creative Works.

18           56.    Creative Works are protected by copyright laws, including, but not limited to the

19   Copyright Act, when they are affixed in the tangible form (such as a painting, sculpture, or drawing).

20           57.    The owner of a Creative Work has exclusive rights to do or authorize: (1) reproduction

21   of the work in copies or phonorecords; (2) preparation of derivative works; (3) distribution of copies of

22   the work to the public for sale or other transfers of ownership; (4) performance; (5) display; and (6)

23   digital performance of audio works. 11 Anyone who violates any of these exclusive rights of the

24   copyright owner is an infringer of the copyright or right of the author, as the case may be. These rights

25   exist whether or not the Creator has registered her Creative Works with the U.S. Copyright Office.

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27   10
        How Meta helps protect against counterfeits, https://www.facebook.com/business/tools/anti-
     counterfeiting/guide, supra note 9.
28   11
        17 U.S.C. § 106.

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     II.    Facebook is directly violating Creators’ Ownership Rights and also helping Counterfeiters
 1          violate the exclusive rights of Creators.
 2
            58.     Counterfeiters locate and target small businesses or local artists selling unique, one-of-a-
 3
     kind products. These products come in all shapes and forms, including photography, figurines,
 4
     sculptures, holiday decorations, or quilting patterns. Once a Counterfeiter locates a product they want
 5
     to rip off, they steal images from the Creator’s or Registered Owner’s website or social media account
 6
     and use Facebook, who acts collaboratively with Counterfeiters and on its own, to display and distribute
 7
     those images to Facebook users.
 8
            59.     Counterfeiters have more success swiping images from small businesses, often found on
 9
     Etsy, Pinterest, or other e-commerce websites. Unique items from small businesses on these kinds of
10
     sites stand out to Counterfeiters because the Creators’ or Registered Owners’ original websites may be
11
     easily copied, making it more difficult for customers to discern the actual source. The Counterfeiters’
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     use of the copyright owner’s original photographs adds to the confusion. Additionally, small businesses
13
     or independent artists may not have the resources to fight fraud on a larger scale—a fact that Facebook
14
     knows and exploits when it ignores takedown notices from Creators or Registered Owners. As a result,
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     small businesses and creative individuals across the globe are turning into Facebook’s collateral damage.
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            60.     The Counterfeiter websites appear legitimate to the average consumer. The Counterfeiter
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     websites often have terms of service and a privacy policy, and various payment methods are accepted,
18
     including PayPal and Mastercard. 12 However, the Counterfeiter websites are full of pictures stolen from
19
     websites like Plaintiff’s website (SnakeArts.com) and are only selling knockoff products.
20
            61.     According to a 2020 Time article, after further review of the Counterfeiter websites, there
21
     are striking similarities. For example, on more than 65,000 of these Counterfeiter sites, the “About Us”
22
     page includes the following sentence: “We love every passion and interest on Earth because it is a
23
     reference to your UNIQUENESS.” Other similarities, like the IP addresses, customer support emails,
24
     phone numbers, and warehouse shipping addresses in mainland China, also exist. 13 The Counterfeiter
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26
     12
        Andrew Chow, Here’s How Shopping Scams on Facebook Are Ripping off Thousands of Customers,
27   with the Money Flowing Overseas, TIME (Dec. 18, 2020, 7:02 PST),
     https://time.com/5921820/facebook-shopping-scams-holidays-covid-19/ (last visited Sept. 14, 2021).
28   13
        Id.

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 1   sites’ photos overlap and many of the sites will have either bad reviews or good reviews filled with

 2   repeat phrases and malapropisms.14 Facebook is aware, or should be aware, of these similarities among

 3   Counterfeit websites and could easily find and remove links from its site that direct users to Counterfeit

 4   sites.

 5              62.   Likewise, some Counterfeiters set up Facebook pages to sell the stolen products--- adding

 6   to the appearance of legitimacy because small businesses regularly market their products on social media

 7   sites. The Counterfeiter Ads direct Facebook Users to click on a link to a Facebook Page where the

 8   counterfeit product can be purchased. Several of these Counterfeiter Facebook pages, created and

 9   controlled by Counterfeiters, remain active on the site even after Creators report the pages to Facebook.

10              63.   Facebook allows Counterfeiters to use its ad platform to advertise the counterfeit

11   products with stolen images hundreds to thousands of times over short periods—sometimes referred to

12   as “ad blasts” or “scam blasts.” This makes it difficult for Registered Owners to keep track of the

13   infringement and Facebook does nothing to stop it, including ignoring Repeat Infringers using the same

14   account name or page or variations of the same company/account names to advertise and sell counterfeit

15   products over and over again. Based upon an examination of the Counterfeiter Ads and websites, these

16   Counterfeiters do not sell anything non-infringing or legitimate. The Counterfeiters only business is

17   collaborating with Facebook to sell counterfeit goods through infringing advertisements, for which

18   Facebook gets paid on a per click basis.

19              64.    The majority of the Counterfeiters who violated Plaintiff’s exclusive rights under the

20   Copyright Act maintain active pages and accounts on Facebook, even after being reported, and can still

21   use the ad platform to advertise counterfeit products. Facebook continues to generate revenue from the

22   Repeat Infringers who have violated Plaintiff’s Registered Works and many others.

23
     III.       The Rise of Scamming and Facebook’s Prioritization of Revenue Over the Rights of Users
24              and Copyright Holders.
25              65.   One in four Americans is a victim of cybercrime each year, from relationship scams to

26   fake IT support to Ponzi schemes to phishing.15 The e-commerce scam is perhaps the fastest rising and

27
     14
          Id.
28   15
          Id.

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 1   one of the most worrisome. E-commerce fraud is the process of duping customers seeking to buy a

 2   legitimate product. A customer might order a certain product or service and receive a knockoff, a

 3   damaged product, or nothing at all.

 4            66.   In 2015, just 13 percent of scams reported to the Better Business Bureau Scam Track

 5   were online purchase cons; in 2020, they made up 64%.16 Online shopping scams are also the number

 6   one fraud in every age group according to the Federal Trade Commission (“FTC”).   17


 7            67.   Social media sites, like Facebook, have created such an advertiser friendly environment

 8   that the sites have become feeding grounds for scam artists.

 9            68.   Below is a table demonstrating the increase in cybercrime from 2016 through 2020.

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22
23            69.   In an FTC study, 94% of Counterfeit Ad victims said their scam originated on Facebook
24   or Instagram (which Facebook owns).19          Counterfeiters use Facebook to blast out targeted
25   advertisements, posting hundreds to thousands of ads in just a few days. Facebook does nothing to
26
     16
        Id.
27   17
        Id.
     18
        Id.
28   19
        Id.

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 1   confirm ownership or authenticity of the photos or products advertised (despite the readily accessible

 2   ability to do so)—which gives Counterfeiters an incentive to use the site. If Facebook takes a

 3   Counterfeiter ad down, the Counterfeiters resubmit new ads almost immediately, leaving no gap in the

 4   exploitation. This openly allowed “whack-a-mole” model allows Facebook the ability to obtain the new

 5   ads, collect the ad revenue, and appear as though it is complying with DMCA takedown notices.

 6          70.      As Counterfeiter Ads increasingly dominate feeds, a community has grown that is

 7   dedicated to reporting these Counterfeiter Ads.               But members of these communities,

 8   like Facebook Ad Scambusters and Scam Alert Global, say that their complaints are often

 9   ignored or overruled, with Facebook representatives deeming the pages as within community

10   standards. 20

11          71.      In some instances, Facebook responds to complaints from these scam policing

12   groups by shutting down the group’s Facebook page or account, instead of addressing the actual

13   fraud the group identified and reported. Facebook is not only ignoring certain Counterfeiters

14   but also assisting Counterfeiters by removing the groups who report the Counterfeiter Ads and

15   copycat websites.

16          72.      Facebook prioritizes revenue over copyright holders, the safety of its three billion users,

17   the public good, and the integrity of its own platform. The consequences vary: consumers are sold

18   knockoff goods or goods they never receive; legitimate advertisers’ accounts or pages are hacked and

19   used to peddle those knockoff or non-existent goods; credit card numbers are stolen; and copyright

20   holders/ legitimate Creators are forced out of business. All the while, Facebook banks the ad revenue. 21

21          73.      Facebook further exacerbates these serious issues relying on a small number of low-paid,

22   unempowered contractors to manage a daily onslaught of ad moderation and policy enforcement

23   decisions that often have far reaching and high impact consequences for users and copyright holders. 22

24          74.      According to Buzzfeed News, Facebook ad workers have at times been told to ignore

25   suspicious behavior unless it would result in financial losses for Facebook, and the company is pushing

26
27   20
        Id.
     21
         Craig Silverman, supra note 5.
28   22
         Id.

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 1   to grow revenue in areas that are responsible for many of the scams. 23 Many of these areas involve

 2   foreign e-commerce markets, particularly China.

 3          75.     Facebook has been aware of an epidemic of violative ads and Counterfeiters operating

 4   out of China and other countries for years, yet the company continues to undertake major initiatives to

 5   increase revenue in China. In 2019, Facebook posted on a Chinese messaging platform that it is

 6   “committed to becoming the best marketing platform for Chinese companies going abroad.” Shortly

 7   thereafter, in 2020, Facebook moved employees from Silicon Valley to Singapore to focus on growing

 8   Chinese revenue.24

 9          76.     Facebook’s scheme, which denies Creators and Registered Owners the right to protect

10   their Creative Works or Registered Works while simultaneously generating traffic and advertising

11   revenue from infringing ads, constitutes the direct infringement, inducement of copyright infringement,

12   contributory copyright infringement, and vicarious copyright infringement, making Facebook liable to

13   Registered Owners for damages for each copyrighted work infringed by each third-party Counterfeiter

14   Facebook ads, and additionally liable to Creators at large for various violations of other laws, including

15   unfair competition laws.

16   IV.    Facebook Generates Nearly All of its Revenue from Advertisements.
17          77.     There are millions of small and large businesses on the Facebook platform trying to court

18   the company’s nearly 3 billion monthly active users.25 Facebook makes money by auctioning off space

19   for ads within Facebook and Instagram users’ feeds and stories. 26 On average, Facebook earned $32

20   from each of its users worldwide in 2020, and more than $80 billion in aggregate revenue from

21   advertisers worldwide.27

22
23
     23
        Id.
24   24
        Facebook Gets Paid, BUZZFEED NEWS,
25   https://www.buzzfeednews.com/article/craigsilverman/facebook-ad-scams-revenue-china-tiktok-
     vietnam (last visited Sept. 14, 2021).
     25
26      Andrew Chow, supra note 11.
     26
            Kamil Franek, How Facebook Makes Money: Business Model Explained,
27   https://www.kamilfranek.com/how-facebook-makes-money-business-model-explained/ (last visited
     Aug. 19, 2021).
28   27
        Id.

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 1           78.     Facebook has data about whom its users communicate with, what content its users

 2   consume and react to, and even what pages and apps its users visit outside of Facebook Apps. 28 Facebook

 3   knows its users’ age, religion, ethnicity, interests, political opinions, relationship states and much more.

 4   Based on this information, Facebook uses algorithms that estimate personal profiles and categorize its

 5   users based on granular statistics to target advertisements from third parties to a specific, and revenue

 6   inducing audience.

 7           79.     There are ten million advertisers that use Facebook’s ad platform, and they are primarily

 8   small businesses, or Counterfeiters. 29 30

 9   V.      Advertising on Facebook—How It Works.
10           80.     Facebook entices advertisers, including Counterfeiters, to use its ad platform through its

11   large user base, consisting of more than three billion active user accounts and billions of active users

12   every day.31 The social media company tells advertisers, including Counterfeiters, “No matter what

13   kind of audience you want to reach, you’ll find them here.” 32

14           81.     Facebook also promises, through use of its mass data catalogue and advertisement

15   targeting algorithm, to connect advertisers to users that are more likely to pursue the advertised good or

16   service. The site specifically promotes it will “automatically show ads to people who are most likely to

17   find the ads relevant.”   33
                                    The advertisers never have access to Facebook user information—Facebook

18   takes care of connecting the advertiser to the user. Without Facebook, the advertisers, and the

19   Counterfeiters, would not have access to these specific customers and would never reach a customer

20   base of Facebook’s magnitude.

21
             82.     Mark Zuckerberg, Facebook CEO, explained during a Senate hearing:
22
23
     28
        Chyelle Dvorak, What Data Does Facebook Collect, REVIEWS.ORG, https://www.reviews.org/internet-
24   service/what-data-does-facebook-collect/ (last visited Dec. 7, 2021).
     29
25      Kamil Franek, supra note 25.
     30
        Matthew Johnston, supra note 7.
     31
26      The Cumulative Number of Daily Facebook Product Users as of 3 rd Quarter 2021, STATISTA,
     https://www.statista.com/statistics/1092227/facebook-product-dau/ (last visited Dec. 8, 2021).
27   32
        Facebook Ads, https://www.facebook.com/business/ads, M ETA (last visited Dec. 6, 2021).
     33
        Ad Targeting, https://www.facebook.com/business/ads/ad-targeting, M ETA (last visited Dec. 6,
28   2021).

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            What we allow is for advertisers to tell us who they want to reach, then we do the placement.
 1          So, if an advertiser comes to us and says, ‘All right, I am a ski shop and I want to sell skis to
            women,’ then we might have some sense, because people shared skiing related content, or said
 2          they were interested in that, they shred whether they’re a woman, and then we can show the ads
            to the right people without that data ever changing hands and going to the advertiser. 34
 3
            83.     There are seven basic steps to set up an advertisement on Facebook. First advertisers
 4
     select an “objective”—which can be brand awareness, reach, app installs, traffic (link clicks), lead
 5
     generation, messages, engagement, or video views. Second, the advertiser selects an audience—at
 6
     which point Facebook again reassures the advertiser that it will direct ads to consumers who will find
 7
     the ads most relevant. Third, the advertiser must decide where to run the ad—Facebook, Instagram,
 8
     Messenger, or Audience Network. For this step, Facebook recommends “automatic placement” because
 9
     it allows Facebook to use its technology to deliver the ads in the most efficient way, especially if the
10
     advertisers are on a budget. Fourth, advertisers set up a budget at which point Facebook promises “if
11
     we’re not able to get you the result you care about, we’ll stop delivering your ad. You won’t get charged
12
     unless we’re getting you results.”35
13
            84.     AdEspresso calculated the average cost per click for Facebook ads in Q3 2020. Broken
14
     down by campaign objective, the average costs were:
15
                  Impressions: $0.98
16                Reach: $1.03
                  Lead generation: $0.67
17                Conversions: $0.25
                  Link clicks: $0.16
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25      Ben Gilbert, How Facebook makes money from your data, in Mark Zuckerberg’s words, INSIDER,
     https://www.businessinsider.com/how-facebook-makes-money-according-to-mark-zuckerberg-2018-4
26   (last visited Aug. 19, 2021).
     35
         https://www.facebook.com/business/gelp/2018285865289?id6293384416215 (last visited Dec. 6,
27   2021). Recently, Facebook updated this money guarantee policy to state that decisions about refunds are
     “made at [Facebook’s] sole discretion and without admission of liability.” About Refunds,
28   FACEBOOK.COM, https://www.facebook.com/business/help/626428078224265?id=1468738389987593.

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16          85.     This data demonstrates that link clicks are the most economical way to advertise on
17   Facebook. From searches conducted on the Facebook site and review of the ads Counterfeiters posted
18   using Plaintiff’s images, it appears this is the objective most Counterfeiters select for their fraud ads.
19   Counterfeiters use links to direct Facebook users from Facebook to their Scam sites, where they also
20   display stolen images, as a low per user, per click cost.
21          86.     In most cases, Facebook is compensated each time a Facebook User clicks on an ad, or
22   on a per click basis. The more clicks Facebook generates for advertisers and Scammers, the more money
23   Facebook makes.
24          87.     The Fifth step in setting up an advertisement is to pick a format for the ad (photo ad,
25   video ad, Facebook story ad, etc.). Advertisements which include images, or photo ads, are approved
26
27   36
       Madis Birk, Facebook Ads Cost Benchmarks 2022 (Based on $636 million Ad Spend), ADESPRESSO
     BY HOOTSUITE  (Dec. 8, 2021), https://adespresso.com/blog/facebook-ads-cost/ (last visited Apr. 8,
28   2022).

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 1   by Facebook for aesthetics (i.e. the text to photo ratio) and, in some cases, legality. Facebook controls

 2   the ad review process, including what images are published on the platform. The review process include

 3   human moderators that participate in approving ads before and after they are published.

 4            88.    After the advertiser has completed steps one through five, it will place the order and

 5   Facebook will begin the “ad auction.” The ad auction occurs when a Facebook user falls into multiple

 6   target audiences. Factors that contribute to the ad auction are bid, estimated action rates, and ad quality.

 7   This is all part of Facebook’s process of connecting advertisers, and Scammers, to the most relevant

 8   audience. Finally, the last step of the process is to measure and manage the ad for results. Facebook

 9   can adjust the ad to obtain more desirable results. 37

10            89.    As mentioned before, Facebook continues to monitor the ads after they are published for

11   results, including making adjustments to the Facebook users receiving the ads and/or directing the ad to

12   entirely different categories of users.

13   VI.      Plaintiff’s Experiences
14            A.     Plaintiff’s Creative Works
15            90.    JL Cook owns, and owned prior to the infringing acts complained of herein, the

16   copyrights for numerous Creative Works, including three-dimensional sculpture designs for works

17   designated as the “Matched Pair of Rattlesnake Entrance Sculptures” (“Rattlesnakes”) and “Python,”

18   previously identified (before registration with the U.S. Copyright Office) collectively as “Plaintiff’s

19   Creative Works.” Plaintiff registered the Registered Works with the United States Copyright Office as

20   indicated in the below table.

21
                                                                 Effective Date of         Registration
22          Registration Number          Title of Work
                                                                   Registration           Decision Date
                                     Matched Pair of           June 16, 2021             Sept. 20, 2021
23         VA-2-267-344              Rattlesnake Entrance
                                     Sculptures
24         VA-2-264-055              Python
                                                               Aug. 25, 2021             Aug. 27, 2021
25
26
27
28   37
          Facebook Ads, https://www.facebook.com/business/ads, supra note 31.

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 1          91.     Plaintiff registered the Creative Works to Jennifer Leanne Cook, a citizen of the United

 2   States and residing in the State of Florida.

 3          B.      Plaintiff’s Creation of the Artworks
 4          92.     JL Cook completed the Rattlesnakes in August 2019—at which time the piece was

 5   displayed at a local museum. Since that time, JL Cook has been selling renditions of Rattlesnakes,

 6   which she creates, to the public.

 7          93.     Through a complex creative process, Plaintiff designed various iterations of the

 8   Rattlesnakes, consisting of different molds, materials, and color schemes. The creative variations

 9   included, but not limited to, design, thickness, orientation, and arrangement.

10          94.     JL Cook completed Python in late August 2017. She has been selling this sculpture to

11   the public since approximately that same time.

12          95.     Plaintiff displayed Rattlesnakes and Python on SnakeArts.com in 2021.          She also

13   displayed them through the JL Cook Etsy store. Counterfeiters stole images of the Rattlesnakes in June

14   2021 and images of the Python in late August 2021.

15          C.      Direct Infringement of Rattlesnakes

16          96.     After JL Cook displayed images of Rattlesnakes on SnakeArts.com, Counterfeiters stole

17   her images, the title of the piece and certain language from SnakeArts.com describing the pieces. They

18   then used the images and information in Counterfeiter Ads on Facebook and on Counterfeiter websites.

19          97.     Below is an image of the Rattlesnakes from SnakeArts.com, taken by JL Cook.

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           Hereinafter referred to as the “Rattlesnake Image.”
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17            98.     The image of the Rattlesnakes includes two identifying marks over the image. The first
18   is “SnakeArts.com” and the other is “JL Cook SnakeArts.com.” JL Cook sold the piece for $6,000.
19            99.     Below are examples of the Counterfeiter advertisements, posted on Facebook starting in
20   June through August of 2021, and Counterfeiter websites selling duplicates of the Rattlesnakes without
21   Plaintiff’s authorization. There is also a customer review of one of the Counterfeiter websites included
22   to demonstrate the confusion these ads created for customers.
23
24
25
26
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28   38
          SNAKE ARTS, SnakeArts.com (last visited Dec. 7, 2021).

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            100.   The image the Counterfeiters used of Rattlesnakes is the same image from
24
     SnakeArts.com. The Counterfeiters also included the same title for the sculpture and quotes from
25
     SnakeArts.com, such as “from actual snakes.” However, in these particular ads, Counterfeiters, or
26
     Facebook, removed the identifying marks from the image, to claim the images and the sculpture more
27
28

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 1   effectively as their own. These Counterfeiters sell the counterfeit product for $49.99. 39

 2          D.      Direct Infringement of the Python

 3          101.    In August 2021, Counterfeiters stole images of the Python for use in Counterfeiter

 4   advertisements. Below is an image of the Python from JL Cook’s Etsy store, as taken by JL Cook.

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14   Hereinafter referred to as the “Python Image.”

15          102.    The image of the Python also has two identifying marks. This image includes the

16   markings “JL Cook SnakeArts.com” and “Python ‘weathered copper patina.’”

17          103.    Below are examples of Counterfeiter advertisements posted on Facebook starting in

18   August 2021. Facebook published all of the advertisements depicted below.

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      The price Counterfeiters charge for Rattlesnakes and Python varies.
27   40
      Python “weathered copper patina”, ETSY.COM, https://www.etsy.com/listing/595978445/python-
     weathered-copper patina?show_sold_out_detail=1&ref=nla_listing_details (last visited Apr. 21, 2022).
28

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            100. Below are examples of the Counterfeiter websites selling duplicates of Python without
 1
 2   Plaintiff’s authorization. These are some of the websites a Facebook user would be redirected to if he/she

 3   clicked on the links provided in the corresponding advertisments.

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14          101.    Counterfeiter Ads on Facebook, like the ones depicted above, directed consumers to click
15   on a link, which then navigated the user to the fake, pop-up shop websites where the user could purchase
16   the pictured product. Unbeknownst to the consumer, they were purchasing a cheap knockoff of the
17   product pictured in the advertisements, or in some cases, sending money to Counterfeiters who had no
18   intention of providing any product in return.
19          102.    The Counterfeiters advertise on Facebook, and other social media and e-commerce
20   websites, purporting to sell products that appear to be the same as the designs JL Cook and members of
21   the Class embodied in the Creative Works and Registered Works. The resemblance is such to deceive
22   the observers, inducing him or her to purchase the Scammers’ infringing products, supposing them to
23   be the claimed Creative Works or Registered Works. This is a direct result of the large outreach and
24   targeted advertising Facebook provides through its platform and algorithms.
25          103.    Facebook users purchased Plaintiff’s Registered Works through Counterfeiters and some
26   of them received cheap, plastic knockoffs or nothing at all. Customers contacted JL Cook after receiving
27   the Counterfeiters’ cheap duplicates and requested refunds. Plaintiff reported the Counterfeiters, many
28   of them multiple times, but Facebook was slow to act or failed to act at all in protecting Plaintiff’s

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 1   Registered Works from infringement. Many of the Counterfeiters Plaintiff and members of the Class

 2   reported to Facebook for infringing their content still have active accounts on Facebook and are still

 3   able to advertise on the site.

 4           104.    Below is a table (Table One) identifying the Counterfeiter websites/companies that sold

 5   knockoffs of Rattlesnake, all of which used Facebook to advertise and redirect user traffic to their own

 6   sites to sell the knock-off products. This is a non-exhaustive list and Plaintiff reserves the right to

 7   identify additional infringement from any period. Each time a unique, Counterfeiter infringed on

 8   Plaintiff’s copyright for the Rattlesnakes constitutes a distinct direct infringement for which Facebook

 9   directed and materially contributed. Facebook is liable for each distinct direct infringement perpetrated

10   on its site. It is also contributorily and vicariously liable for each act of infringement.

11       Table One: Matched Pair Rattlesnake Entrance Sculptures
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     COMPLAINT (CLASS ACTION)                                                                         29
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                                           Counterfeiter URLs
 1
 2
           1. https://www.planeoak.shop/products/matched-pair-of-rattlesnake-entrance-sculptures
 3         2. https://www.hooenred.com/products/matched-pair-of-rattlesnake-entrance-sculptures

 4
           3. https://www.facebook.com/Bluebel-103600218648616/
 5
           4. https://www.biaclo.top/products/matched-pair-of-rattlesnake-entrance-
 6            sculptures?sales_pop=true
 7         5. https://www.globalhight.com/products/matched-pair-of-rattlesnake-entrance-
 8            sculptures?sales_pop=true
           6. https://www.panepa.top/products/rattlesnake-entrance-sculptures
 9
           7. https://www.facebook.com/Lullabop-103193921889137/
10         8. https://www.seestarrysky.com/products/matched-pair-of-rattlesnake-entrance-
11            sculptures
           9. https://rayrioj.com/products/matched-pair-of-rattlesnake-entrance-sculptures
12
           10. https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&ua
13             ct=8&ved=2ahUKEwjosa-mivfyAhV2TjABHc-
               kCZYQFnoECAcQAQ&url=https%3A%2F%2Fkewstern.com%2Fproducts%2Famaz
14             ing-python-curly-body-snake-door-
               handles%2F&usg=AOvVaw2K6rf866hrYSkTdNec6Xe_
15
           11. https://coaco.top/products/matched-pair-of-rattlesnake-entrance-sculptures
16         12. https://www.jagely.top/products/matched-pair-of-rattlesnake-entrance-sculptures
17         13. https://www.relblog.com/products/matched-pair-of-rattlesnake-entrance-sculptures
18         14. https://www.facebook.com/Azurejelly1-104624431808200/
19         15. Exclusive-Romantic.com
20         16. https://www.facebook.com/Buoyancyworld-110718567832661/
21         17. https://www.facebook.com/prettylifiiii/
22         18. https://www.peachoolong.net/products/matched-pair-of-rattlesnake-entrance-
               sculptures
23         19. Reallydream.net
24         20. https://www.facebook.com/Firerise-106273118344219/
25         21. https://www.facebook.com/Past-Memories-USA-103679968635252/
26         22. https://www.facebook.com/Happy-Cheer-US-109493738043970/
27         23. https://www.facebook.com/Likair-102377992084065/
28

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 1                                       Counterfeiter URLs
           24. https://www.facebook.com/Fasife-100545975150901/
 2
           25. https://www.facebook.com/CharmStall-110935934566492/
 3
           26. https://www.facebook.com/Pointatbette-r-101867185486049/
 4
           27. https://eternitar.com/products/matched-pair-of-rattlesnake-entrance-
 5             sculptures?fbclid=IwAR3SqyXtNDs0uwD88A7gKSRgIn6dl0vwNZ1CgpMGoJFFgM
               IOpd1p7vVmOfY
 6         28. https://www.zingisoe.com/products/matched-pair-of-rattlesnake-entrance-
 7             sculptures?fbclid=IwAR2F6J0CfiyFOtPhjsxn6EyxECCRnZfnhGH65BqagfA7_NMcf
               gHwc5vzJpM
 8         29. https://apprical.com/product/amazing-python-curly-body-snake-door-
               handles/?fbclid=IwAR1K6WWBhN1fXNHvUlggGhSQ2eOkKW6Hj7ISAqn6WGcq
 9             TGrNoQ6ndenDyyA
10         30. https://bidforums.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR3SB13JpsNK0qj25B992NXCseUzYsr0y7Cg26Ck5467F5dF
11             U4unPbaU7mQ
           31. https://cdhjztng.shop/products/matched-pair-of-rattlesnake-entrance-
12             sculptures/?fbclid=IwAR2imF7o6psjJPdnJR9ngOB0swAYwR5Lqm1FNBhyHhechgr
               N8ehb0atxQm
13         32. https://eternitar.com/products/matched-pair-of-rattlesnake-entrance-
14             sculptures?fbclid=IwAR3SqyXtNDs0uwD88A7gKSRgIn6dl0vwNZ1CgpMGoJFFgM
               IOpd1p7vVmOfY
15         33. https://www.zingisoe.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR2F6J0CfiyFOtPhjsxn6EyxECCRnZfnhGH65BqagfA7_NMcf
16             gHwc5vzJpM
17         34. https://apprical.com/product/amazing-python-curly-body-snake-door-
               handles/?fbclid=IwAR1K6WWBhN1fXNHvUlggGhSQ2eOkKW6Hj7ISAqn6WGcq
18             TGrNoQ6ndenDyyA
           35. https://bidforums.com/products/matched-pair-of-rattlesnake-entrance-
19             sculptures?fbclid=IwAR3SB13JpsNK0qj25B992NXCseUzYsr0y7Cg26Ck5467F5dF
               U4unPbaU7mQ
20         36. https://cdhjztng.shop/products/matched-pair-of-rattlesnake-entrance-
21             sculptures/?fbclid=IwAR2imF7o6psjJPdnJR9ngOB0swAYwR5Lqm1FNBhyHhechgr
               N8ehb0atxQm
22         37. https://cdhjztng.shop/products/matched-pair-of-rattlesnake-entrance-
               sculptures/?fbclid=IwAR3qpgmktilM1YPLoT6SnW3pmBzaAPgLaU9MpOhAwnQ6
23             qj6N9xazYhwnagg
           38. https://courierbeauty.com/products/matched-pair-of-rattlesnake-entrance-
24
               sculptures?fbclid=IwAR2doZFRRlXmxr0fQpZQSmvBfKH7XEWzrVcV3jfrl3Ilec_to
25             4sZ3_QvFeE
           39. https://ddlyyds.shop/products/matched-pair-of-rattlesnake-entrance-
26             sculptures?fbclid=IwAR0AN4UbdsvoHV28SMGMov-
               VTyX0KPyr8fKe6fbxb7akDLmgZgfDoNXs4y4
27
28

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 1                                            Counterfeiter URLs
           40. https://eternitar.com/products/matched-pair-of-rattlesnake-entrance-
 2             sculptures?fbclid=IwAR230c_vX7X-hUH9spNoAhs-
 3             7oeqzXBwiJhL7Fi60erUi_cTaUEYkqstBVQ
           41. https://gasfu.top/products/matched-pair-of-rattlesnake-entrance-
 4             sculptures?fbclid=IwAR09uIS6GGx4reFNCT1fAOJwnQODB_8l8h5RsD0ywnezgEd
               h30fdxUGcJrQ
 5         42. https://jinxueda.shop/products/matched-pair-of-rattlesnake-entrance-
 6             sculptures/?fbclid=IwAR0Au_vTvs8paEk-
               wdQaNCN5cmEez9Md2QbTBVdf3cCqCF8bAItwGWvUiWA
 7         43. https://kronpgv.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR1KR2SGUXjmiLW6N9IJ5m7ztI-sEk5T1Hj_28OlvYAUQW-
 8             x7Lwilg43W_U
           44. https://letaojia.store/products/matched-pair-of-rattlesnake-entrance-
 9             sculptures?fbclid=IwAR3whcUbOLxb90IYGRBwO-
10             1TOReMShOP56z9xIOHeeLXWfuHAKoE4O7BiBI
           45. https://opportes.com/product/amazing-python-curly-body-snake-door-
11             handles/?fbclid=IwAR2sRjC9ni9kXjFZlTeJQ_oTDpF5p997QWpWgVwyvOy1SYjP
               Krdi5Xqnhw8
12         46. https://opportes.com/product/amazing-python-curly-body-snake-door-
               handles/?fbclid=IwAR3UjHyh2M5Au6U3nUcRut6NkQzIufxpAHOXcs4ZHwI16niPl
13
               M7xLh9z-z4
14         47. https://prettylifiiii.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR0Dntybi8bOTTnUQ-X8v-8hI7d1tcsBIZxve7jt-
15             _AI9njVa_Y3OB2zsho
           48. https://topaini.shop/products/matched-pair-of-rattlesnake-entrance-sculptures
16
           49. https://uunning.com/products/matched-pair-of-rattlesnake-entrance-sculptures
17
           50. https://www.boxartis.com/products/matched-pair-of-rattlesnake-entrance-sculptures
18
           51. https://www.buoyancyworld.net/products/matched-pair-of-rattlesnake-entrance-
19             sculptures?fbclid=IwAR31yhs_HWCopczVLXUFifAI03UGIQVl7IdITssoG1wzb8NZ
               PliW3FBSxsE
20         52. https://www.charmstall.net/products/matched-pair-of-rattlesnake-entrance-
21             sculptures?fbclid=IwAR1fc5z6DGXxFse4-XyZ4JSL4PSwnmnFXzMB1y1-8w1Q-
               CRWMM4WREgWOOM
22         53. https://www.charmstall.net/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR3m0pZ2-
23             y4yo3f2LLDhLGyZlz9FYzOziRt7NuPwNwFfyZdyAvtcmsLcVes
           54. https://www.cutestart.net/products/python-weathered-copper-patina?variant=8636
24
           55. https://www.evoccin.com/collections/statue-art
25
           56. https://www.evoccin.com/products/matched-pair-of-rattlesnake-entrance-sculptures
26
           57. https://www.evoccin.com/products/matched-pair-of-rattlesnake-entrance-sculptures
27
           58. https://www.exclusiveromantic.com/products/matched-pair-of-rattlesnake-entrance-
28             sculptures

     COMPLAINT (CLASS ACTION)                                                                     32
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 1                                        Counterfeiter URLs
           59. https://www.exclusivesoulmate.com/products/matched-pair-of-rattlesnake-entrance-
 2             sculptures
 3         60. https://www.fanpat.com/products/matched-pair-of-rattlesnake-entrance-sculptures

 4         61. https://www.fantasticise.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR1-
 5             XpxNjgiYts9JKO9EutfjvJfBugyAnL_JMdVAMSAigz8H7fzP27y5zeE
           62. https://www.firefare.net/products/matched-pair-of-rattlesnake-entrance-sculptures
 6
           63. https://www.firerise.net/products/matched-pair-of-rattlesnake-entrance-door-handle
 7
           64. https://www.fortunateroad.com/products/matched-pair-of-rattlesnake-entrance-
 8             sculptures
           65. https://www.fortunatewish.com/products/matched-pair-of-rattlesnake-entrance-
 9             sculptures
10         66. https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&ua
               ct=8&ved=2ahUKEwjkw_yyqZXxAhXCpJ4KHZ8KBJ04ChAWMAJ6BAgKEAM&
11             url=https%3A%2F%2Fwww.luckliytrend.com%2Fproducts%2Fmatched-pair-of-
               rattlesnake-entrance-sculptures&usg=AOvVaw250JQFXosVUKVrdYbl0TrO
12         67. https://www.happycheer.net/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR1dOuDqZjKjcsNvpT99RjS0Dek2shS90rciJzZ3R4aiLOfPgJrJ
13             hEmUQzQ
14         68. https://www.koply.net/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR2jt4rjHWISuxT8_GadmdawBbLZG_ThoRudMSIeqxg6LpN
15             LT25A5WhZJHU
           69. https://www.likair.com/products/6234?fbclid=IwAR3W7vslqmyTFYvb5_HOf60hCR
16             NHTEqJ2OMklXW7lXX-PGcgbfcg1WaK_FA
17         70. https://www.luckliytrend.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures
18         71. https://www.luckliyway.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures
19         72. https://www.lullabop.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures?variant=4d01f791-591a-426a-933e-
20             e1749f61d439&fbclid=IwAR0uqyB4g_DWlhaga0pIxieYXnR1CEQvJQYrCg9wYBc
21             SGtIpkIL2ymJ5zDQ
           73. https://www.lunaticui.com/products/rattlesnake-entrance-
22             sculptures?fbclid=IwAR1KCgREJ7qA0F_TxN3uTDEXlejNtEg9ivCz_YA-
               RLulBTjwclA1GV1uQbU
23         74. https://www.lushyouth.net/products/matched-pair-of-rattlesnake-entrance-sculptures
24         75. https://www.pastmemories.net/products/matched-pair-of-rattlesnake-entrance-
               sculptures?fbclid=IwAR0oY5xgFpF7Rs19Yh-drWpqNK4_4jqM9-rhky8yJiJHkz-
25             F5l4Pqgv8LPc
26         76. https://www.pointatbetter.com/products/matched-pair-of-rattlesnake-entrance-
               sculptures
27
28

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 1                                           Counterfeiter URLs
             77. https://www.pointatbetter.com/products/matched-pair-of-rattlesnake-entrance-
 2               sculptures?fbclid=IwAR1EYVeO6jCVM78EuF8k4SvybJ9m7YxuLbQa5GBf-
 3               93fIPu4qa6yvlIZKeQ
             78. https://www.pointatbetter.com/products/matched-pair-of-rattlesnake-entrance-
 4               sculptures?fbclid=IwAR2pa3rQGwh0Z_blMiH-IAF-2L_6kD1-
                 GwcN_hJS8n_uWR5aaE3WRUicQUc
 5           79. https://www.rdawfvng.com/products/matched-pair-of-rattlesnake-entrance-sculptures
 6           80. https://www.shopnzing.top/products/matched-pair-of-rattlesnake-entrance-
                 sculptures?fbclid=IwAR3x5tZUusK0Uha95qfgphSbOFfNHYyO84zWIzHo5omJ27D
 7               2fbe9VNJu3N0
 8           81. https://www.shopnzing.top/products/matched-pair-of-rattlesnake-entrance-
                 sculptures?fbclid=IwAR3x5tZUusK0Uha95qfgphSbOFfNHYyO84zWIzHo5omJ27D
 9               2fbe9VNJu3N0
             82. https://www.starawy.com/products/matched-pair-of-rattlesnake-entrance-sculptures
10
             83. https://www.sweetpast.net/products/matched-pair-of-rattlesnake-entrance-sculptures
11
             84. https://www.toypkr.com/products/matched-pair-of-rattlesnake-entrance-
12               sculptures?fbclid=IwAR2oifhuMMkC9njARpIM_j0I4Ak0IL-nRsbPr7rcfEIZE-5-
                 jQxKf3xzglo
13           85. https://www.toypkr.com/products/matched-pair-of-rattlesnake-entrance-
14               sculptures?fbclid=IwAR3-q3hnofpZo_3FmPVEbYppnAtafiIOBMTfv3UO-
                 lrNYHCqsLNcWb-2u-c
15           86. https://www.turbohik.com/products/matched-pair-of-rattlesnake-entrance-
                 sculptures?fbclid=IwAR09MQMf3BTGm212ZsDTH-
16               iZ4tXJ9gZFlcA8pBHQ0m4HD0PuyT2ymKzGX8U
17           87. https://www.turbohik.com/products/matched-pair-of-rattlesnake-entrance-
                 sculptures?fbclid=IwAR09MQMf3BTGm212ZsDTH-
18               iZ4tXJ9gZFlcA8pBHQ0m4HD0PuyT2ymKzGX8U
             88. https://www.zingisoe.com/products/matched-pair-of-rattlesnake-entrance-
19               sculptures?fbclid=IwAR3i1t2k6ge4H3NbDo9wKJiV9Ft8hs5biKeb22HpuSAzD_Op_
                 gpET8WNE5A
20
             105.    Facebook published multiple Counterfeiter Ads for the Rattlesnakes from each of the
21
     above indicated Counterfeiters, totaling hundreds of unauthorized ads for the piece. Facebook stores
22
     this ad data, and it is readily accessible.
23
             106.    Below is a table (Table Two) identifying the Counterfeiter websites/companies selling
24
     knockoffs of Python. This is a non-exhaustive list and Plaintiff reserves the right to identify additional
25
     infringement from any period. Each time a unique Counterfeiter infringed on Plaintiff’s copyright for
26
     the Python constitutes a distinct direct infringement for which Facebook materially contributed.
27
28

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 1   Facebook is directly, contributorily, and vicariously liable for each distinct direct infringement

 2   perpetrated on its site.

 3       Table Two: Python
 4                                                Counterfeiter URLs
 5
                    1. https://www.cutestart.net/products/python-weathered-copper-patina?variant=8636
 6                  2. https://www.slowfever.net/products/python-weathered-copper-patina?variant=6050
 7                  3. https://www.facebook.com/Slowfever-Sky-102420665337959/

 8                  4. https://hangsnow.com/products/python-weathered-copper-
                       patina?fbclid=IwAR3OwVRDw-OEmYFwcvXaFimpWcrMXUcXajH-
 9                     ThD80TsabcGYeDTgfmmHIOQ
                    5. https://www.feeldestiny.net/products/python-weathered-copper-patina
10
                    6. https://www.rosenbrunnen.com/products/python
11
                    7. https://www.seacalm.net/products/python-weathered-copper-patina?variant=8637
12
13           107.     Facebook published multiple Counterfeiter Ads for the Python from the each of the above

14   indicated Counterfeiters, totaling hundreds of unauthorized ads for the piece. Facebook stores this ad

15   data, and it is readily accessible.

16           108.     After combining Table One and Table Two, there are ninety-five distinct Counterfeiter

17   websites, representing distinct acts of direct copyright infringement by Facebook and contributory

18   copyright infringement in connection with the Counterfeiters, of Plaintiff’s Registered Works.

19   Facebook is directly, contributorily, and vicariously liable for each of these infringements.

20           E.       Facebook’s Contributory Infringement of Plaintiff’s Registered Works

21           109.     In June 2021 Plaintiff found advertisements for the Rattlesnakes on Facebook. JL Cook

22   has never advertised on Facebook and did not authorize any Facebook advertisements. Later in 2021,

23   Counterfeiters also stole images of the Python and advertised it for sale on Facebook. Since that time,

24   there have been hundreds of ads on Facebook using Plaintiff’s images and purporting to sell her

25   Registered Works.

26                    1.        DMCA Takedown Notices

27           110.     JL Cook filed DMCA notices each time that she saw one of her Creative Works or

28   Registered Works advertised without authorization. DMCA requires Facebook to act expeditiously

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 1   when removing advertisements subject to DMCA takedown notices. Facebook failed to act reasonably

 2   under this standard.

 3          111.     Below is a table of the DMCA notices Plaintiff sent to Facebook in June 2021 to remove

 4   Counterfeiter Ads using copyrighted images from SnakeArts.com and Plaintiff’s Etsy store. This does

 5   not represent every infringing ad posted on Facebook. Facebook maintains records of these DMCA

 6   notices and the related information.

 7        Date Plaintiff Sent       Complaint #         Image Infringed      Counterfeiter Reported 41
           DMCA Notice
 8
          6-3-2021              332555038441352        Rattlesnake Image Unknown, see fn. 41.
 9
          6-4-2021
                                1176771982766482 Rattlesnake Image Azurejelly1
10
          6-4-2021
11                              311540223745586        Rattlesnake Image Unknown, see supra fn. 41.
          6-4-2021
12                              332555038441352        Rattlesnake Image Unknown, see supra fn. 41.
13        6-4-2021
                                1484597475217447 Rattlesnake Image ExclusiveRomantic
14        6-6-2021
                                311540223745586        Rattlesnake Image Unknown, see supra fn. 41.
15        6-21-2021
                                1137375050103890 Rattlesnake Image Unknown, see supra fn. 41.
16
          6-21-2021
17                              815741069371126        Rattlesnake Image Happy-Cheer
          6-25-2021
18                              156954442005866        Rattlesnake Image Prettylifiiii

19
20          112.     After sending at least nine DMCA takedown notices to Facebook, each notice containing
21   multiple ads and Counterfeiters, for ads all using the exact same image stolen from Plaintiff’s website,
22   and continuing to see the same Counterfeiter Ads popping up on the site, Plaintiff took additional action.
23          113.     On June 29, 2021, Plaintiff contacted one of Facebook’s Intellectual Property (IP)
24   attorneys, Allan Lo (“Lo”). She again reported the copyright infringing Counterfeiter Ads to Lo, totaling
25   hundreds of individual ads. Plaintiff also reported the following Counterfeiters to Lo: Prettylifiiii,
26
     41
        This is not an exhaustive list of the Counterfeiters Plaintiff reported to Facebook in each takedown
27   notice. Facebook also has additional details from each takedown notice Plaintiff sent to Facebook,
     including the other Counterfeiters, images, and advertisements Plaintiff reported. Facebook has records
28   of all takedown notices from Plaintiff and the Class for the relevant time period.

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 1   Ddlyydsshopk,    Apprical,   Toypkr, Kronpgv,      Happy-Cheer,    Firerise,   Charm      Stall,   Koply,

 2   Past_Memories, and Pointatbetter-r. Lo was able to remove every ad within twenty-four hours of the

 3   conversation. Facebook did not suspend or remove the accounts of the Counterfeiters. Approximately

 4   ten days later, Counterfeiter Ads, again using the exact same stolen images, reappeared on Facebook in

 5   mass quantities, many of which appeared on the same accounts that Plaintiff previously reported as

 6   infringing her works. Facebook allowed this to continue to happen even after JL Cook reported the

 7   images as infringing.

 8          114.    Below are additional DMCA takedown notices Plaintiff sent to Facebook from June

 9   through August 2021, after Plaintiff had previously, and repeatedly, reported the images as infringing

10   upon her works. This does not represent every infringing ad posted on Facebook. Facebook maintains

11   records of these DMCA notices, along with takedown notices from the Class members and the related

12   information.
           Date Plaintiff             Complaint #             Image Infringed        Counterfeiter
13          Sent DMCA                                                                 Reported42
14             Notice
                              4308190729204391               Rattlesnake Image
          6-30-2021                                                                 Pointatbette-r
15
                                                                                    Firefare
16
                                                                                    Toypkr
17
                                                                                    Koply
18
                                                                                    Prettylifiiii
19
                                                                                    Kenzzi
20
                                                                                    CharmStall
21
                                                                                    Happy Cheer
22
                                                                                    Past_Memories
23
                                                                                    Buoancyworld
24
                                                                                    Kronpgv
25
26
27   42
       This is not an exhaustive list of the Counterfeiters Plaintiff reported to Facebook in each takedown
     notice. Facebook also has additional details from each takedown notice Plaintiff sent to Facebook,
28   including the other Counterfeiters, images, and advertisements Plaintiff reported.

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          Date Plaintiff         Complaint #      Image Infringed     Counterfeiter
 1        Sent DMCA                                                    Reported42
 2           Notice
                                                                     Apprical
 3
                                                                     Likeair
 4
                                                                     Boxartis
 5
                                                                     Rdawfvng
 6
                                                                     Luckilyway
 7
                                                                     Fanpat
 8
                                                                     Starawy
 9
                                                                     Evoccin
10
                                                                     Luckilytrend
11
                                                                     Luckilyway
12
                                                                     UsLethercom
13
                                                                     Exclusive
14
                                                                     Soulmate
15
                                                                     Exclusive
16
                                                                     Romantic
17
                                                                     Fortunate Wish
18
                                                                     Fortunate Road
19
                                                                     Really Dream
20
                                                                     Azurejelly1
21
                                                                     Peachoolong-A
22
                                                                     Fasife
23
                                                                     Exquisite-life
24
                           1163208184199614      Rattlesnake Image   Purplebag-xia
25       7-1-2021
                           832721527664437       Rattlesnake Image
26       7-3-2021                                                    Westoft-ring

27                                                                   Hooenred

28

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           Date Plaintiff             Complaint #              Image Infringed       Counterfeiter
 1         Sent DMCA                                                                  Reported42
 2            Notice
                              4308190729204391               Rattlesnake Image
         7-5-2021                                                                   Unknown, see
 3
                                                                                    supra fn. 42.
 4
                              338165371378722                Rattlesnake Image
 5       7-12-2021                                                                  Ddlyyds.shop

 6                                                                                  Jinxedshop

 7                                                                                  Oportes

 8                                                                                  Shingou.shop

 9                                                                                  Hrtimd Store

10
         7-13-2021            327873858982590                Rattlesnake Image     Ddlyyds.shop
11
         7-17-2021            150962200470318                Rattlesnake Image     Toypkr
12
13       7-19-2021            340703630944084                Rattlesnake Image
                                                                                    Toypkr
14       7-23-2021            374591684230539                Rattlesnake Image     Cdhjzthgshoph

15       7-25-2021            669568774441893                Rattlesnake Image
                                                                                    Unknown, see
16
                                                                                    supra fn. 42.
17       8-4-2021             378257200489282                Python Image
                                                                                    Slowfever-sky
18
                                                                                    Letaojia
19
            115.    The copyright infringing ads continued to pop up, even after Plaintiff notified Facebook
20
     the images infringed upon her ownership rights. On August 23, 2021, Plaintiff contacted Lo a second
21
     time. This time, Plaintiff identified the following Counterfeiters: Andey.top, Somnaio, Peacetisshop,
22
     Lunaticui, and Eternitar. In her email to Lo, Plaintiff provided images of the infringing ads from the
23
     Facebook Ad Library. Each image identified the total number of ads using the “creative and text”---
24
     demonstrating how easy this would be for Facebook to monitor.
25
            116.    Again, on August 23, 2021, Facebook removed the specifically reported Counterfeiter
26
     Ads, this time in less than two hours. But more ads popped up again on Facebook.
27
28

     COMPLAINT (CLASS ACTION)                                                                        39
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 1          117.   Below is a table including additional DMCA takedown notices Plaintiff sent to Facebook

 2   through the end of August 2021.43 This does not represent every infringing ad posted on Facebook.

 3   Facebook maintains records of these DMCA notices, along with takedown notices submitted by the

 4   Class members and the related information.
          Date Plaintiff Sent           Complaint #             Image Infringed        Counterfeiter
 5              Notice                                                                  Reported44
 6
          8-30-2021              233883711999070               Rattlesnake Image     Koply.shop
 7
                                 23847919891620052                                   Somnaio
 8
                                 23847919952630052                                   Andey.top
 9
                                 23847919957490052                                   Swissgambs
10
                                 23847919962480052                                   Lullabop
11
                                                                                     Fantatioeshop
12
                                                                                     Bidforums
13
                                                                                     CourierBeauty
14
                                                                                     Zingisoe
15
                                                                                     Hitcome
16
                                                                                     Shopnzingtopdef
17
                                                                                     Lunaticui
18
                                                                                     Turbohik
19
                                                                                     Eternitary-Shop
20
                                                                                     Gasfu
21
                                                                                     Uunning
22
                                                                                     Uuning Shop
23
                                                                                     Lushyouthnet
24
25
     43
26      New Counterfeiter Ads for Plaintiff’s Copyrighted Works continued to appear on Facebook until
     October 22, 2021.
27   44
        This is not an exhaustive list of the Counterfeiters Plaintiff reported to Facebook in each takedown
     notice. Facebook also has additional details from each takedown notice Plaintiff sent to Facebook,
28   including the other Counterfeiters, images, and advertisements Plaintiff reported.

     COMPLAINT (CLASS ACTION)                                                                        40
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          Date Plaintiff Sent            Complaint #             Image Infringed         Counterfeiter
 1              Notice                                                                    Reported44
 2
                                                                                       Landou.s
 3
                                                                                       Ronadocc
 4
                                                                                       Ronadocc.store
 5
                                                                                       Ronadoccshop
 6
                                                                                       RonadoccOnline
 7
                                                                                       QueenStarService
 8
                                                                                       Xdsing-US
 9
                                                                                       Xdsing-UK
10
                                                                                       Xdsing-AU
11
                                                                                       Peacetisshop
12        8-31-2021               985868942365682
                                                                Rattlesnake Image      Unknown, see
13
                                                                                       supra fn. 44.
14        9-1-2021                145234537786344
                                                                Rattlesnake Image      Unknown,        see
15
                                                                                       supra fn. 44.
16
          9-6-2021                903783090555404
                                                                Rattlesnake Image      Unknown,        see
17
                                                                                       supra fn. 44.
18
19          118.     Shortly after Plaintiff saw her images all over Facebook, again, she ran a search on
20   Facebook through the site’s Ad Library, for images like the Registered Works. She started the search
21   by using the names given to her pieces: (1) Matched Pair of Rattlesnake Entrance Sculpture; and (2)
22   Python. These names appear on SnakeArts.com. Within seconds, Facebook’s basic search functionality
23   was able to locate and display hundreds of ads, posted by nearly one hundred different Counterfeiters,
24   all using Plaintiff’s images and selling counterfeit versions of Plaintiff’s Registered Work. The
25   Counterfeiter Ads included the same previously reported, copyright infringing images, Matched Pair of
26   Rattlesnake Entrance Sculptures and Python, which, if searched at that time, returned hundreds of results
27   on Facebook’s own Ad Library.
28

     COMPLAINT (CLASS ACTION)                                                                          41
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 1           119.   Additionally, even after Facebook “removes” a Counterfeit ad pursuant to a DMCA

 2   takedown notice, if any Facebook user shared that ad, that ad remains on that user’s page. This includes

 3   ads shared by accounts owned by Counterfeiters. Below is an example of a Counterfeiter’s Ad which

 4   Facebook claims it removed from the site in 2021. The below screenshots were taken on January 14,

 5   2022.

 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24                                                                                              45


25
26
27
      https://www.facebook.com/search/posts/?q=matched%20pair%20rattlesnake%20entrance%20scluptu
     45
28   res (lasted visited Jan. 14, 2021).

     COMPLAINT (CLASS ACTION)                                                                        42
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 1
 2
     46
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 6
 7
 8
 9
10
11
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13
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15
16
17                                                                             47

18
19          120.    Facebook possesses and regularly uses technology that is readily available to search for
20   and identify specific images, text appearing in images, and even to identify things in a picture, like
21   people, text, animals, landmarks, products and more across the internet. In fact, recent litigation against
22   Facebook revealed that Facebook actively used, up until recently, facial recognition software which
23   could automatically identify people who appeared in users’ digital photo albums. 48 Facebook is not the
24
     46
        https://www.facebook.com/search/posts/?q=matched%20pair%20rattlesnake%20entrance%20sclupt
25   ures (last visited on Jan. 14, 2021).
     47
26      https://www.facebook.com/search/posts/?q=matched%20pair%20rattlesnake%20entrance%20sclupt
     ures (last visited on Jan. 14, 2021).
27   48
         Kasmir Hill and Ryan Mac, Facebook, Citing Societal Concerns, Plans to Shut Down Facial
     Recognition System, THE NEW YORK TIMES (Nov. 2, 2021),
28

     COMPLAINT (CLASS ACTION)                                                                           43
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 1   only company with this kind of software.          It is sold by Amazon, Microsoft, and IBM to law

 2   enforcement.49

 3          121.      Facebook has the ability and the technology to locate infringing ads, through image

 4   searches and other technology, but also, to block infringing ads from entering the Facebook feed

 5   (sometimes called “gating”). Facebook chooses to allow Counterfeiters to use the site on a repeat basis

 6   and ignores pleas from Creators and Registered Owners to fix the problem in a meaningful way.

 7                    2.     Repeat Infringers on Facebook
 8          122.      In a recent Intellectual Property Campaign, Facebook attempted to downplay the

 9   counterfeit and copyright infringement issues on its site and convince users and business owners alike

10   that it is doing everything in its power to prevent and/or remove infringing content. Facebook stated

11   that it removes Facebook profiles and Instagram accounts that repeatedly violate someone else’s IP

12   rights, its repeat infringer policy applies to blatant copyright, trademark, and counterfeit violations that

13   appear on Pages, groups, video-related actions, and so on.50 These are misrepresentations—Facebook

14   allows accounts and pages displaying infringing content and distributing counterfeit products on its site,

15   even after they are reported as infringers – and actively connects those infringers with potential buyers.

16          123.      Below is a list of Repeat Infringers Plaintiff reported to Facebook between June 2021

17   and September 2021. Several of these accounts and/or pages, if not all of them, are still active on

18   Facebook and have advertised counterfeit products owned by other members of the Class. A current

19   Facebook URL is included for sites where it was available. This list is non-exhaustive, and Plaintiff

20   reserves the right to supplement it:
                 Azurejelly; current Facebook URL is https://www.facebook.com/Azurejelly-
21                   111845651009792
22               Azurejelly1; current Facebook URL is https://www.facebook.com/Azurejelly1-
                     104624431808200
23
24
25   https://www.nytimes.com/2021/11/02/technology/facebook-facial-
     recognition.html#:~:text=the%20main%20story-
26   ,Facebook%2C%20Citing%20Societal%20Concerns%2C%20Plans%20to%20Shut%20Down%20Faci
     al%20Recognition,more%20than%20one%20billion%20users. (last visited Apr. 22, 2022).
27   49
        Id.
     50
             IP    Protection     of   Facebook       and       Instagram,        Meta,      May    2021,
28   https://www.facebook.com/business/tools/anti-counterfeiting/guide (last visited Feb. 8, 2022).

     COMPLAINT (CLASS ACTION)                                                                            44
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                 Peaachoolong-A; current Facebook URL is https://www.facebook.com/Peachoolong-A-
 1                110397264529981
 2               Koply-shop
                 Spmnaio
 3               Andey.top; current Facebook URL is https://www.facebook.com/Andeytop-
                  109312494674577
 4               Swissgambs; current Facebook URL is ttps://www.facebook.com/Swissgambs-
 5                112157274251034
                 Lullabop; current Facebook URL is https://www.facebook.com/Lullabop-
 6                103193921889137
                 Tastioship
 7               Bidforums; current Facebook URL is https://www.facebook.com/Bidforums-
 8                102342228604115
                 Courierbeauty; current Facebook URL is https://www.facebook.com/Courierbeauty-
 9                110407671124822
                 Hitcome
10               Zingisoe;              current            Facebook               URL              is
11                https://www.facebook.com/profile.php?id=100065139895324
                 Shopnzin.todef; current Facebook URL is https://www.facebook.com/Shopnzingtopdef-
12                111063701213108
                 Lunaticui
13               Turbohik; current Facebook URL is https://www.facebook.com/Turbohik-
14                109997554470020
                 Eternitar-shop; current Facebook URL is https://www.facebook.com/Eternit-Shop-
15                249469126942531
                 Gasfu-US; current Facebook URL is https://www.facebook.com/Gasfu-US-
16                102662748794805
17               Uunning
                 Uunning Shop; current Facebook URL is https://www.facebook.com/Uunningshop-
18                105302571701988
                 Lushyouth.net; current Facebook URL is https://www.facebook.com/Lushyouthnet-
19                103649088679458
20               Landou.s
                 Ronadocc; current Facebook URL is https://www.facebook.com/Ronadocc-
21                111777031165018
                 Ronadocc.store; current Facebook URL is https://www.facebook.com/RonadoccStore-
22                111423497866486
                 RonadoccOnline;              current           Facebook            URL            is
23
                  https://www.facebook.com/RonadoccOnline-104212975265985
24               QueenstarService;             current          Facebook            URL            is
                  https://www.facebook.com/QueenstarService-108952261474253
25               Xdsing-US
                 Xdsing-UK
26
                 Xdsing-AU
27               Peactisshop
                 Letaojia;    current   Facebook       URL   is    https://www.facebook.com/Letaojia-
28                107544234922380

     COMPLAINT (CLASS ACTION)                                                                 45
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                   Letaojia-com; current Facebook URL is https://www.facebook.com/Letaojia-com-
 1                  109080168099418
 2                 Letaojia-store
                   Letaojia-top; current Facebook URL is https://www.facebook.com/Letaojia-top-
 3                  107973094878684
                   Letaojia-tv; current Facebook URL is https://www.facebook.com/Letaojia-tv-
 4                  142700047930097
 5                 Ddlyydsshopd51; current Facebook URL is https://www.facebook.com/Ddlyydsshopd-
                    104171848540348/
 6                 Cdhjztngshoph
                   Opportes52; current Facebook URL is https://www.facebook.com/Opportes-
 7                  104811174721523/
 8                 Firerise
                   Firefare
 9                 Toypkr;       current  Facebook   URL    is     https://www.facebook.com/Toypkr-
                    101444995379403
10                 Koply; current Facebook URL is https://www.facebook.com/Koplyshop-
11                  106857294961310
                   Prettylifiiii
12                 Kenzzi53;      current  Facebook   URL    is    https://www.facebook.com/Kenzzi-
                    694466360734018
13                 Jinxuedashop
14                 Shingou.shop54; current Facebook URL is https://www.facebook.com/Shingoushop-
                    101903778773840
15                 Hrtimd
                   Westoft-ring
16                 Hooenred; current Facebook URL is https://www.facebook.com/hooenredcom-
17                  102414358811616
                   Pointatbetter55; current Facebook URL is https://www.facebook.com/Pointatbetter-
18                  101887255292309
                   Charmstall56; current Facebook URL is https://www.facebook.com/Charm-stall-
19                  111143991214503
20
21
     51
22      This account is associated with at least 408 Counterfeit ads for Plaintiff’s Registered Works. It was
     reported to Facebook.
23   52
        This account is associated with at least 11 Counterfeit Ads for Plaintiff’s Registered Works. It was
     reported to Facebook.
24   53
        This account is associated with at least 83 Counterfeit Ads for Plaintiff’s Registered Works. It was
25   reported to Facebook.
     54
        This account is associated with at least 17 Counterfeit Ads for Plaintiff’s Registered Works. It was
26   reported to Facebook.
     55
        This account is associated with at least 24 Counterfeit Ads for Plaintiff’s Registered Works. It was
27   reported to Facebook.
     56
        This account is associated with at least 68 Counterfeit Ads for Plaintiff’s Registered Works. It was
28   reported to Facebook.

     COMPLAINT (CLASS ACTION)                                                                         46
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                   Happy            Cheer57;        current         Facebook          URL         is
 1                  https://www.facebook.com/AdminHappyCheer
 2                 PastMemories58; current Facebook URL is https://www.facebook.com/Past_Memories-
                    111127794536530
 3                 Bouancy World59
                   Krongpv60
 4                 Purple Bag XIA
 5                 Sweet Past; current Facebook URL is https://www.facebook.com/Sweetpast-
                    106127318390327
 6                 Apprical
                   Likair; current Facebook URL is https://www.facebook.com/Likair-102377992084065
 7
                   Boxartis; current Facebook URL is https://www.facebook.com/Boxartis-
 8                  107613001534921
                   Planeoak.shop; current Facebook URL is https://www.facebook.com/Planeoak-
 9                  100206535802643
                   Luckilyway
10                 Funpat
11                 Staraway
                   Evoccin
12                 Luckiltrned
                   USLeathercom
13
                   Exclusive          Soulmate;         current       Facebook         URL        is
14                  https://www.facebook.com/ExclusiveSoulmate-101525192126827
                   Exclusive Romantic
15                 Fortunate Wish; current Facebook URL is https://www.facebook.com/FortunateWish-
                    109972304601919
16
                   Fortunate Road
17                 Reallydream
                   Fasife
18                 Exquisite-life
19                 Hangsnow; current Facebook URL is https://www.facebook.com/Hangsnow-
                    101660592118339
20                 Blubel; current Facebook URL is https://www.facebook.com/blubel
                   Hooenred.com
21                 Hooenred-max
                   Hooenred
22                 Hooenred-mix
23
24   57
        This account is associated with at least 35 Counterfeit Ads for Plaintiff’s Registered Works. It was
25   reported to Facebook.
     58
        This account is associated with at least 256 Counterfeit Ads for Plaintiff’s Registered Works. It was
26   reported to Facebook.
     59
        This account is associated with at least 10 Counterfeit Ads for Plaintiff’s Registered Works. It was
27   reported to Facebook.
     60
        This account is associated with at least 39 Counterfeit Ads for Plaintiff’s Registered Works. It was
28   reported to Facebook.

     COMPLAINT (CLASS ACTION)                                                                        47
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                   Lullbop; current Facebook URL is https://www.facebook.com/Lullabop-
 1                  103193921889137
 2                 Lullabop-shop
                   Biaclo-US
 3                 Biaclo-UK
                   Biaclo-AU
 4
                   Panepa-UK
 5                 Panepa-US
                   Seestarrysky
 6                 Seestarrysky-1; current Facebook URL is https://www.facebook.com/Seestarrysky-1-
                    110019804726303
 7
                   Rayrioj;    current    Facebook   URL       is   https://www.facebook.com/Rayrioj-
 8                  110043398047743
                   Kewstern
 9                 Coaco-AU
                   Jagely-US; current Facebook URL is https://www.facebook.com/Jagely-US-
10
                    177743597678642
11                 Jagely-CN
                   Jagely-AU
12                 Relblog;    current    Facebook   URL       is   https://www.facebook.com/Relblog-
                    107257065013934
13
                   Mossoak.shop; current Facebook URL is https://www.facebook.com/Mossoakshop-
14                  109894678048309
                   Bestlovelycute; current Facebook URL is https://www.facebook.com/Bestlovelycute-
15                  132272379004184
                   Amazomb-shop
16
                   Pecs-top.shop; current Facebook URL is https://www.facebook.com/Pecstopfashion
17
18      124.         Plaintiff reported all the above listed accounts for infringing upon her copyrights and

19   other violations of her rights as a small business owner. Many of these accounts posted ads for Plaintiff’s

20   Registered Works on more than 10 occasions, and some posted hundreds of infringing ads. Facebook

21   did not block or disable these accounts and encouraged, enabled, and/or allowed these accounts to

22   continue posting advertisements for counterfeit goods containing copyrighted images and works owned

23   by Plaintiff and other members of the Class.

24                                          CLASS ALLEGATIONS

25          125.    Plaintiff brings this action as a class action under Rules 23(a), (b)(2), and (b)(3) of the

26   Federal Rules of Civil Procedure, on behalf of herself and all others similarly situated, on behalf of the

27   following proposed Class and Subclasses: (1) a nationwide Class, including Creators residing in all 50

28

     COMPLAINT (CLASS ACTION)                                                                           48
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 1   states (the “Nationwide Creators’ Class”); (2) a nationwide Subclass, including Registered Owners

 2   residing in all 50 states; and (3) a Florida Subclass, comprised of Creators residing in Florida.

 3
            The Nationwide Creators’ Class is initially defined as:
 4
            All Creators in the United States for whom, during the Class period, Facebook displayed an
 5          image of their Creative Works in an advertisement on Facebook, without the Creators’ consent.
 6          The Nationwide Registered Owners Subclass is initially defined as:
 7          All Registered Owners in the United States for whom, during the Class period, Facebook
            displayed an image of their Registered Works, as defined herein, in an advertisement on
 8          Facebook, without the Creators’ consent.
 9          The Florida Creators’ Subclass is initially defined as:
10          All Creators in the State of Florida for whom, during the Class period, Facebook displayed an
            image of their Creative Works in an advertisement on Facebook, without their consent.
11
12          126.    Excluded from the Class and Subclasses are Defendants, their employees, officers,
13   directors, legal representatives, heirs, successors and wholly or partly owned subsidiaries or affiliates.
14          127.    The number of persons who are members of the Class and Subclasses is so numerous that
15   joinder of all members in one action is impracticable. The Class and Subclasses are reasonably estimated
16   to be at least in the thousands. While the precise number, names, and addresses of all members of the
17   Class are unknown to Plaintiff, such information is ascertainable from Defendants’ records.
18          128.    The claims of the Class all derive from a single uniform policy by Defendant to both
19   actively connect infringers with potential customers and to allow Repeat Infringers to continue to use
20   the site to sell counterfeit products after being reported as an infringer.
21          129.    The objective facts are the same for all Class members in that: (a) each owns a copyright;
22   and (b) each had images or copies of their Created Works stolen and displayed by Facebook in
23   advertisements or on Repeat Infringer accounts or pages.
24          130.    Facebook did not differentiate, in degree of care or candor, its actions or inactions with
25   respect to individual members of the Class. The objective facts are the same for all members of the
26   Class. Within each Claim for relief asserted below by the respective Class, the same legal standards
27   govern resolution of the same operative facts existing across all members’ individual claims.
28

     COMPLAINT (CLASS ACTION)                                                                            49
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 1            131.   Because the claims of each member of the class have a common origin and share a

 2   common basis in terms of Defendant’s systematic misconduct, there are common questions of fact and

 3   law that exist as to each Class member under Federal Rule of Civil Procedure 23(a)(2), and which

 4   predominate over any questions affecting only individual members under Federal rule of Civil Procedure

 5   23(b).

 6            132.   Substantial questions of fact and law that are common to all members of the Class, and

 7   which control this litigation and predominate over any individual issues, include the following:

 8               a. Whether Facebook displayed and distributed images of Creative Works and/or
 9
                     Registered Works owned or controlled by Creators and/or Registered Owners;
10
                 b. Whether Facebook was authorized by Creators and/or Registered Owners to display or
11
                     distribute images of Creative Works and/or Registered Works;
12
                 c. Whether Facebook directly stored, controlled, and communicated images of Creative
13
14                   Works and/or Registered Works to its users, without authorization;

15               d. Whether Facebook’s display and distribution of Creative and/or Registered Works
16                   constitutes copyright infringement;
17
                 e. Whether Facebook, after considering its direct communication of Creative Works and/or
18
                     Registered Works to its users and failure to reasonably implement a Repeat Infringer
19
                     policy can assert any DMCA safe harbor protection;
20
21               f. Whether Facebook contributed to the Counterfeiters’ communication of images of

22                   Creative Works and/or Registered Works to Facebook’s users;

23               g. Whether Facebook reasonably complied with its duties to expeditiously remove
24                   infringing or unlawful content from its site after receiving DMCA takedown notices or
25
                     other reports;
26
                 h. Whether Facebook’s direct and contributory copyright infringement was willful;
27
                 i. Whether Facebook receives a financial benefit from the infringement described herein;
28

     COMPLAINT (CLASS ACTION)                                                                           50
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                j. Whether the Class and Subclasses suffered damages as a result of Facebook’s acts or
 1
 2                  omissions;

 3              k. Whether injunctive and/or declaratory relief is appropriate.

 4
            133.    Plaintiff’s claims are typical of the claims of the Class and Subclasses and arise from the
 5
     same course of conduct undertaken by Defendant against the Class and Subclasses as a whole. There
 6
     are no conflicts between the interest of the named Plaintiffs and the interests of the members of the
 7
     Class. The relief Plaintiff seeks is typical of the relief sought for the members of the Class.
 8
            134.    Plaintiff will fairly and adequately represent and protect the interests of the Class and
 9
     Subclasses because of the common injury and interest of the members of the Class and Subclasses and
10
     the singular conduct of Defendant that is, and was, applicable to all members of the Class or Subclasses.
11
     Plaintiff has retained counsel competent and experienced in class action litigation that will adequately
12
     represent and protect the interests of the members of the Class.
13
            135.    Class certification is appropriate pursuant to Rule 23(b)(2) because Facebook has acted
14
     and refused to act on grounds generally applicable to the Class, making appropriate declaratory and
15
     injunctive relief with respect to Plaintiff and the Nationwide Creators’ Class as a whole. The members
16
     of the Nationwide Creators’ Class are entitled to injunctive relief to end Facebook’s failure to implement
17
     and enforce a reasonable Repeat Infringer policy.
18
            136.    Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3) not only
19
     because common questions of fact and law predominate, but also because a class action is superior to
20
     other available methods for fairly and efficiently adjudicating the controversy. The prosecution of
21
     separate actions by individual members of the Class would impose heavy burdens upon the courts and
22
     Defendants and would create a risk of inconsistent or varying adjudications of the questions of law and
23
     fact common to the Class. A class action, on the other hand, would achieve substantial economies of
24
     time, effort, and expense, and would assure uniformity of decision as to persons similarly situated
25
     without sacrificing procedural fairness or bringing about other undesirable results.
26
            137.    Plaintiff is also not aware of management difficulties that should preclude maintenance
27
     of this litigation as a class action. Rule 23 provides the Court with the authority and flexibility to
28

     COMPLAINT (CLASS ACTION)                                                                          51
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 1   maximize the efficiencies and benefits of the class mechanism and reduce management challenges. The

 2   Court may, on motion of Plaintiff or on its own determination, certify nationwide, statewide and/or

 3   multistate classes for claims sharing common legal questions; utilize the provisions of Rule 23(c)(4) to

 4   certify any claims, issues, or common questions of fact or law for class-wide adjudication; certify and

 5   adjudicate bellwether class claims; and utilize Rule 23 (c)(5) to divide any class into further Subclasses.
                                          FIRST CAUSE OF ACTION
 6                                DIRECT COPYRIGHT INFRINGEMENT
 7                                (Nationwide Registered Owners’ Subclass)
             138.    Plaintiff realleges and incorporates by reference the allegations in all preceding
 8
     paragraphs as if fully set forth herein.
 9
             139.    Facebook has infringed upon the rights of Creators in violation of the Copyright Act.
10
     Without authorization, Facebook displayed copies of Registered Works to and through Facebook
11
     advertisements. It did this through its ad targeting algorithms and profit focused policies.
12
             140.    Facebook displayed, reproduced, and generated revenue from Registered Works without
13
     authority from Registered Owners.
14
             141.    Facebook’s acts and omissions alleged herein are in total disregard of Plaintiff’s and the
15
     Registered Owners’ Subclass’s exclusive rights to display, create derivative works, and distribute their
16
     works. Facebook’s violations of the Copyright Act are intentional and willful acts of copyright
17
     infringement and constitute hundreds, if not thousands, of acts of infringement.
18
             142.    Facebook stores images of Registered Works on its computers and/or systems and
19
     communicates those images to its users and the public. It does this through advertisements and shared
20
     posts. Facebook goes beyond merely posting what users provide it and takes the next step of using
21
     technology to purposely approve or deny ads and directly connect the ads (which contain the infringing
22
     content) to potential purchasers of the counterfeit goods, reaching an audience that Counterfeiters could
23
     not otherwise reach.
24
             143.    Facebook directly participates in Counterfeit ad approval and publication through the
25
     Facebook Ad Platform approval process, which includes scanning ads for things like discrimination and
26
     design issues (i.e., an improper text to image ratio).
27
28

     COMPLAINT (CLASS ACTION)                                                                           52
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 1           144.    Pursuant to the Copyright Act, 17 U.S.C. § 106(5), Facebook’s storage, display, and

 2   distribution of the images of Registered Works is a violation of Plaintiff’s and the Class’s exclusive

 3   rights to display and distribute Registered Works.

 4           145.    Facebook continues to infringe the copyrights of Plaintiff’s and the Class’s Registered

 5   Works and unless enjoined by this Court, Facebook will continue to infringe the respective copyrights

 6   therein owned and controlled by Plaintiff and the Class.

 7           146.    Plaintiff and the Registered Owners are further entitled to statutory damages in a sum of

 8   not less than $150,000 for each infringement by Defendant of the Registered Works as provided by the

 9   U.S. Copyright Act and the costs and disbursements of this action together with reasonable attorneys’

10   fees or actual damages and Facebook’s profits. While this Complaint only identifies two Registered

11   Works, this action involves the alleged infringement of thousands of works for which Plaintiff and the

12   Class own the copyrights. The maximum statutory damages are $150,000 per act of infringement.
                                     SECOND CAUSE OF ACTION
13                         CONTRIBUTORY COPYRIGHT INFRINGEMENT
14                              (Nationwide Registered Owners’ Subclass)
             147.    Plaintiff realleges and incorporates by reference the allegations in all preceding
15
     paragraphs as if fully set forth herein.
16
             148.    The Counterfeiters directly infringed Plaintiff’s and the Register Owners Subclass’s
17
     exclusive reproduction, duplication and seller rights through the advertisement (using Plaintiff’s own
18
     images) of counterfeit goods that are substantially the same, or identical, to Plaintiff’s goods.
19
             149.    Facebook controls, operates, manages, and monitors the platform the Counterfeiters use
20
     to widely spread their infringing advertisements. To the extent Facebook claims that third parties, not
21
     Defendant, violate Plaintiff’s and the Registered Owners’ Subclass’s exclusive rights under the
22
     Copyright Act, Facebook is knowingly and materially contributing to the infringement.
23
             150.    Facebook has engaged and continues to engage in the business of knowingly and
24
     systematically inducing, causing and/or materially contributing to unauthorized reproduction,
25
     adaptation, public display, and/or distribution of copies of Plaintiff’s and the Registered Owners’
26
     Subclass’s Registered Works and thus to the direct infringement of the Registered Owners works.
27
28

     COMPLAINT (CLASS ACTION)                                                                            53
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 1             151.   Facebook materially contributes to the Counterfeiters’ direct infringement in two three

 2   distinct ways: (1) knowingly publishing copyright infringing advertisements on its site; (2) configuring

 3   and applying an algorithm to Counterfeiter Ads to target specific consumers; and (3) failing to remove

 4   infringing advertisements after being notified.

 5             152.   The Counterfeiters are never privy to the specific Facebook user information that

 6   Facebook applies to connect the Counterfeiters’ ads to the users. Additionally, Facebook promotes the

 7   use of its advertising platform by flaunting its large user base and its ability to increase advertiser sales

 8   through ad targeting. In fact, Facebook guarantees that if it cannot get advertisers the results they seek,

 9   it will not charge for its service.

10             153.   By supplying the advertising platform, and failing to monitor, manage and control the

11   advertisements on the site, Facebook facilitates, encourages, and enables the direct infringement of

12   Registered Works.

13             154.   Facebook’s conduct constitutes contributory infringement of Plaintiff’s and Subclass’s

14   copyrights and exclusive rights in violation of Sections 106 and 504 of the Copyright Act. 17 U.S.C. §

15   504(b). Moreover, Facebook’s knowing and material contribution to the infringement of Registered

16   Works, each time it was advertised (either through a unique URL or unique third-party Counterfeiter, or

17   Counterfeiter entity name) constitutes a separate and distinct act of infringement for which Facebook is

18   liable.

19             155.   Facebook’s knowing and material contribution to the infringement of Plaintiff’s and the

20   Subclass’s Registered Works is willful, intentional, and purposeful, and in disregard of and with

21   indifference to Plaintiff’s and the Subclass’s rights. Rather than using its vast technical, and financial

22   capabilities and resources to stop blatant and open copyright infringement, Facebook actively solicits,

23   encourages, assists and protects Counterfeiters’ activities.

24             156.   As a direct and proximate result of Facebook’s infringement, Plaintiff and the Subclass

25   have suffered damages and is entitled to recover actual damages and Defendant’s profits in amounts to

26   be proven at trial.

27             157.   Alternatively, Plaintiff and the Subclass are entitled to the maximum statutory damages,

28   pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 per infringed work each time that it was

     COMPLAINT (CLASS ACTION)                                                                             54
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 1   infringed, by virtue of Defendant’s willful infringement, or for such other amounts as may be proper

 2   under 17 U.S.C. § 504.

 3           158.    As required by the Copyright Act, Plaintiff and the Registered Owners’ Subclass have

 4   registered their copyrights with the U.S. Copyright Office and hold the copyright certificates for their

 5   Registered Works.

 6           159.    Plaintiff provided a DMCA takedown notice to Facebook each time she encountered an

 7   infringing advertisement of Rattlesnakes or Python. No matter how many DMCA takedown notices

 8   Plaintiff provided to Facebook, the site published new, infringing advertisements, using the same images

 9   stolen from Plaintiff, repeatedly. It is impossible for Plaintiff, and others similarly situated, to keep up.

10   It is possible, however, for Facebook to use resources and technology, readily available to it, to remove

11   ads using images it knows are infringing copyrights.

12           160.    As a direct and proximate result of the foregoing acts and conduct, Plaintiff and the

13   Registered Owners’ Subclass have sustained and will continue to sustain substantial, immediate, and

14   irreparable injury, for which there is no adequate remedy at law. Unless enjoined and restrained by this

15   Court, Defendant will continue to infringe Plaintiff’s and the Subclass’s rights to the Registered Works

16   and will continue to allow infringing material on its site. Plaintiff and the Subclass are further entitled

17   to injunctive relief under 17 U.S.C. § 502-505 and compensatory damages (including, but not limited to

18   actual damages and/or Defendants' profits), statutory damages, punitive damages, and Plaintiff’s costs

19   and attorneys' fees in amounts to be determined at trial.

20
                                    THIRD CAUSE OF ACTION
21                    VICARIOUS LIABILITY FOR COPYRIGHT INFRINGEMENT
22                            (Nationwide Registered Owners’ Subclass)
             161.    Plaintiff realleges and incorporates by reference the allegations in all preceding
23
     paragraphs as if fully set forth herein.
24
             162.    Plaintiff is the exclusive owner of Rattlesnakes and Python. Both Registered Works are
25
     registered with the United States Copyright Office. The Registered Owners’ Subclass members each
26
     own their Registered Works.
27
28

     COMPLAINT (CLASS ACTION)                                                                            55
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 1            163.   Counterfeiters using Facebook’s products and services have directly infringed and are

 2   directly infringing Plaintiff’s and the Subclass’s copyrights, daily, through use of Plaintiff’s and the

 3   Subclass’s images in advertisements without authorization. This is a violation of Plaintiff’s and the

 4   Subclass’s exclusive rights pursuant to Copyright Act U.S.C. §§ 106, 501. Said infringement is

 5   occurring on an immense scale and constitutes voluminous infringing acts.

 6            164.   Facebook is liable as a vicarious infringer for the copyright infringement committed

 7   through each of the products and services it provides Counterfeiters, including: (1) knowingly publishing

 8   advertisements for Registered Works on its site; (2) configuring and applying an algorithm to

 9   Counterfeiter Ads to deliver the infringing images to specific, targeted consumers; and (3) failing to

10   remove infringing advertisements after being notified—allowing Counterfeiters additional time on the

11   site and an new opportunities to create infringing ads. At all relevant times to this action, Facebook has

12   had: (1) the right and ability to control and/or supervise the infringing conduct of Counterfeiters; and

13   (2) a direct financial interest in and derives a substantial benefit from the infringement of Registered

14   Works.

15            165.   Facebook has the right and ability to terminate advertisers and remove advertisements

16   and products from its site or to block certain accounts from using the platform to advertise. Facebook

17   approves every ad before it is published to its sites. Facebook has the right and ability to accept or reject

18   any proposed advertisement before it enters the social media feed—including the ability to scan for

19   infringing content.

20            166.   Indeed, Facebook’s Advertising Terms and Conditions, agreed to by every Facebook

21   advertiser, on the one hand, and Facebook, on the other, gives Facebook the right to “monitor and

22   otherwise investigate” links and ads to ensure compliance with Facebook’s policies. 61 Through the

23   terms and conditions, Facebook further reserves the right to terminate any non-compliant users or

24   advertisers. Facebook’s has complete control over advertisers and Counterfeiters.

25            167.   Additionally, Facebook has the ability, and right through the terms and conditions, to

26   scan images for infringing content on a large-scale basis, especially after an image is reported as

27
     61
        Facebook Advertising Terms and Conditions, FACEBOOK.COM,
28   https://www.facebook.com/business/direct_terms_ads_en.php (last visited Jan. 22, 2022).

     COMPLAINT (CLASS ACTION)                                                                            56
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 1   infringing upon a copyright owner’s rights. This means Facebook can run a search for every instance

 2   an image is used on the site or proposed as part of a Facebook ad during the ad posting process. Instead

 3   of using its technological abilities, Facebook chooses to allow Counterfeiters to repeatedly use the same

 4   infringing images in new ads after they are reported.

 5          168.    Facebook obtains a direct financial benefit from the Counterfeiters through their ad

 6   purchases. In fact, Facebook makes money each time a Facebook user clicks on a Counterfeiter ad, in

 7   many cases. This means the more times Facebook can convince its users to click on Counterfeiter Ads,

 8   the money it makes.

 9          169.    Despite having control over the Counterfeiter Ads, and ability to stop all the infringing

10   conduct, Facebook does not stop the ongoing infringement of Registered Works. This is directly harmful

11   to Plaintiff’s and the Subclass’s ability to sell their products and it is detrimental to Plaintiff’s and the

12   Subclass’s reputation as Creators producing unique, one-of-a-kind pieces.

13          170.    As a direct and proximate result of Facebook’s misconduct, Plaintiff and the Registered

14   Owners’ Subclass suffered damages and are entitled to relief, in an amount to be proven at trial.

15          171.    As a direct result of Facebook’s infringements Plaintiff and the Subclass are entitled to

16   the maximum statutory penalties under 17 U.S.C. § 504, in the amount of $150,000 with respect to each

17   timely registered work that was infringed and all other relief the Court deems just and proper under the

18   law.

19          172.    Plaintiff and the Subclass are further entitled to their costs, including reasonable

20   attorneys’ fees, pursuant to 17 U.S.C. § 505.

21          173.    Facebook’s conduct has caused and, unless enjoined by this Court, will continue to cause,

22   Plaintiff and the Registered Owners great and irreparable injury that cannot be compensated or measured

23   in money. Plaintiff and the has no adequate remedy at law because even if damages are paid, the works

24   will continue to be infringed. Pursuant to 17 U.S.C. § 502, Plaintiff and the Registered Owners are

25   entitled to a permanent injunction prohibiting further infringement of Registered Works.

26                              FOURTH CAUSE OF ACTION
              VIOLATIONS OF THE VISUAL ARTISTS’ RIGHTS ACT (17 U.S.C. § 106A)
27                       (Nationwide Creators Class and All Subclasses)
28

     COMPLAINT (CLASS ACTION)                                                                            57
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 1           174.    Plaintiff realleges and incorporates by reference the allegations in all preceding

 2   paragraphs as if fully set forth herein.

 3           175.    Under the Visual Artists’ Rights Act, 17 U.S.C. § 106A(a) (“VARA”), an artist who

 4   created a visual work has the right to attribution and to preserve the integrity of the artist’s work.

 5   Congress enacted VARA to protect both the reputations of certain visual artists and the works of art they

 6   create. It exclusively grants authors of works that fall under the protection of the Act the following four

 7   core rights to: (i) claim authorship; (ii) prevent the use of one’s name on any work the author did not

 8   create; (iii) prevent use of one’s name on any work that has been distorted, mutilated, or modified in a

 9   way that would be prejudicial to the author’s honor or reputation, and (iv) to prevent distortion,

10   mutilation, or modification that would prejudice the author’s honor or reputation.

11           176.    Here, the Counterfeiters used and continue to use images from Plaintiff’s and the Class’s

12   websites to sell cheap knockoffs of their Creative Works. This damaged and continues to damage

13   Plaintiff’s and the Creators Class’s reputations with customers and with the public. Additionally, the

14   knockoffs constitute a modification of Plaintiff’s and Class’s originally designed works that customers

15   now associate with Plaintiff and the Class members.

16           177.    Counterfeiters stole images, language, descriptions, and titles of the Creative Works and

17   included that information in their Counterfeiter Ads. Then, using its algorithms, Facebook widely

18   disseminated the ads to thousands of targeted Facebook users. Through the overlapping information,

19   Facebook users who purchased Counterfeiter versions of Plaintiff’s and the Class’s Creative Works

20   found Plaintiff’s, and other’s similarly situated Class members’ websites and contact information and

21   contacted each respective Creator to complain about the quality of the product they received. JL Cook,

22   like many artists, is now associated with the low-quality products and bad customer service that came

23   from the Counterfeiters. This is detrimental to her reputation and corrupts the integrity of the art.

24           178.    As a result of the misconduct alleged herein, Plaintiff and the Creator Class and all

25   Subclasses are entitled to damages in an amount to be proven at trial.

26                                     FIFTH CAUSE OF ACTION
                                    REQUEST FOR INJUNCTIVE RELIEF
27                                      (Nationwide Creators Class)
28

     COMPLAINT (CLASS ACTION)                                                                           58
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 1           179.    Plaintiff realleges and incorporates by reference the allegations in all preceding

 2   paragraphs as if fully set forth herein.

 3           180.    Facebook has not implemented a reasonable Repeat Infringer policy and thereby

 4   participates in and encourages copyright infringement on its site.

 5           181.    This Court may grant an injunction when the Defendant’s actions or omissions will

 6   continue to produce great injury to the Plaintiffs and members of the Class.

 7           182.    Without the injunctive relief requested herein, Plaintiff and the Class lack an adequate

 8   remedy at law and will suffer irreparable harm if Defendant continues to display their copyright works,

 9   display Counterfeit Ads, actively directs and connects the infringing images to consumers, and further

10   induces and encourages Counterfeiters to run advertisements on Facebook.

11           183.    The Court should enter an order enjoining Defendants from engaging in the wrongful

12   and unlawful acts and omissions described herein and specifically require Defendant to implement a and

13   enforce a reasonable Repeat Infringer policy and take further steps to cease the copyright infringement

14   in which it directly and contributorily participates. In addition, the Court should enjoy Facebook from

15   retaining profits earned from reported Counterfeiter Ads.

16
                                  SIXTH CAUSE OF ACTION
17               VIOLATION OF LANHAM ACT—FALSE DESIGNATION OF ORIGIN
                                       (15 U.S.C. § 1125)
18                        (Nationwide Creators Class and All Subclasses)
19           184.    Plaintiff realleges and incorporates by reference the allegations in all preceding

20   paragraphs as if fully set forth herein.

21           185.    Facebook’s acts and omissions in relation to Counterfeiter Ads are false and misleading

22   material representations of fact conducted via commercial advertising in interstate commerce.

23           186.    Pursuant to 15 U.S.C. § 1125, any person in commerce who uses any false designation

24   of origin, false or misleading description of fact, or false or misleading representation of fact, which

25                   (a) is likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,
                     connection or association of such person with another person, or as to the origin or
26
                     sponsorship; or
27                   (b) in commercial advertising promotion, misrepresents the nature, characteristics,
                     qualities, or geographic origin of his or her or another person’s foods, services, or
28                   commercial activities

     COMPLAINT (CLASS ACTION)                                                                           59
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 1   is liable to any person who believes that he or she is or is likely to be damaged by such act. 15 U.S.C. §

 2   1125(a)(1). Section 1125 protects against several deceptive commercial practices, including false

 3   advertising or promotion or the origin of the product.

 4           187.    The Counterfeiter Ads Facebook shows to its users misrepresent the nature, quality and

 5   origin of the Creative Works and otherwise confuse the public, leading the public to believe erroneously

 6   that the Creators are associated with the ads and offers for sale. The ads Facebook generates can be

 7   Nationwide and target millions of consumers.

 8           188.    The misrepresentations are material. Indeed, when a Facebook user sees a Counterfeiter

 9   Ad, he or she assumes the products pictured are the products he or she will receive, and that Facebook

10   has approved (which it has) the use of its platform to advertise goods.

11           189.    After purchasing a product from a Counterfeiter Ad, many consumers received cheap

12   knockoffs of the product depicted in a Counterfeiter Ad or nothing at all. Because using images of the

13   Creative Works or Registered Works caused actual confusion among consumers, dissatisfied Counterfeit

14   Ad victims have mistakenly contacted the Creators or the Registered Owners to complain.

15           190.    As a direct and proximate result of Facebook’s publication and sharing of Counterfeit

16   Ads, particularly after it has been notified that use of images of Creative Works violate the Creators’

17   rights, caused Plaintiff and the Class harm. Plaintiff and the Class suffered both a diversion of sales and

18   a lessening of goodwill associated with the Creative Works.

19           191.    Plaintiff and the Creators are entitled to damages in an amount to be proven at trial.

20   Additionally, Plaintiff and the Creators are entitled to enhanced damages in an amount up to three times

21   the amount of actual damages suffered.

22                                  SEVENTH CAUSE OF ACTION
                    VIOLATIONS OF THE DIGITAL MILLENIUM COPYRIGHT ACT
23                           (Nationwide Creators’ Class and All Subclasses)
24           192.    Plaintiff realleges and incorporates by reference the allegations in all preceding

25   paragraphs as if fully set forth herein.

26           193.    DMCA is designed, in part, to protect online service providers (“OSPs”) from liability

27   from copyright claims arising out of conduct by their end-users. OSPs, however, need to earn this

28

     COMPLAINT (CLASS ACTION)                                                                           60
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 1   protection through compliance with a series of conditions, including, but not limited to, expeditiously

 2   blocking or removing infringing materials after being notified of the infringement.

 3          194.    Facebook does not qualify for DMCA safe harbor protections both because it is a direct

 4   infringer and because it has not otherwise met the prerequisite conditions.

 5          195.    The Storage Safe Harbor protects OSPs for liability arising for infringing material that

 6   users direct to be stored, controlled or made available on the OSPs website. This is limited, however,

 7   to instances where the user, not the OSP, is responsible for the presence of the infringing content on the

 8   OSPs system.

 9          196.    Facebook is not eligible to claim any safe harbor protections because it used its

10   technology and business policies and practices to directly connect and communicate infringing images

11   to potential buyers on its site. Facebook requires all advertisements to go through its own approval

12   process, during which an automated system and moderators review the ads for legality, including

13   intellectual property, issues and aesthetic. Facebook, not its users or advertisers, is responsible for the

14   presence of the infringing content on its site, and for the direct connection of that content with potential

15   consumer buyers.

16          197.    Additionally, to be eligible for the Storage Safe Harbor, Facebook must: (1) adopt and

17   inform users of and implement a repeat infringer policy; (2) lack actual knowledge of infringement and

18   lack awareness of facts and circumstances (“red flags”) making infringement apparent; (3) on obtaining

19   knowledge of infringement, it must expeditiously remove the infringing material; and (4) not have a

20   direct financial benefit from the infringement.

21          198.    Facebook purports to have a Repeat Infringer policy but failed to enforce it. To qualify

22   for safe harbor protection, Facebook must have adopted and implemented an internal copyright

23   infringement policy that provides for the termination of Facebook account holders that are repeat

24   copyright infringers.

25          199.    Facebook’s copyright infringement policy states:

26          Ads must not contain content that infringes upon or violates the rights of any third party,
            including copyright, trademark, privacy, publicity, or other personal or proprietary rights.
27
            Advertising Policies: Prohibited Content, Section 9.
28

     COMPLAINT (CLASS ACTION)                                                                            61
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             200.    Facebook’s repeat infringer policy states:
 1
             In addition to removing content and bad actors when they are reported, we disable the accounts
 2           of repeat infringers where appropriate. We also take other actions before someone can become
 3           a repeat infringer, such as imposing temporary feature limits or removing access to certain
             product features like Marketplace.
 4
             Repeat Infringer Policy62
 5
 6           201.    Facebook does not enforce these policies, as demonstrated by the thousands of

 7   Counterfeiter Ads, openly infringing on Creators’ rights, posted to and by Facebook every single day.

 8   Defendant does little, either in the advertisement approval process or afterwards, to ensure that

 9   advertisement content does not infringe upon the rights of Creators. This is a violation of Facebook’s

10   duty, both pursuant to its own policies and to the DMCA’s requirements, to remove infringing material

11   after notification and to prevent infringing material from re-entering the site through Repeat Infringers.

12           202.    Facebook does not lack actual knowledge of infringement or lack awareness of facts and

13   circumstances (“red flags”) making infringement apparent. It knew, or should have known, and willfully

14   ignored, that infringing activity was occurring through advertisements on its site. The number of

15   Counterfeiters selling Plaintiff’s Registered Works alone (nearly one hundred different accounts/pages)

16   is so egregious and obvious that Facebook, after being repeatedly notified of the specific images and

17   works being infringed, knew of the infringement and was required to stop it.

18           203.    Facebook failed to expeditiously remove infringing content after being notified by

19   Registered Owners. Indeed, Plaintiff had to submit several DMCA takedown notices for the same

20   images and was required to research and contact Facebook’s IP attorney to get the images removed from

21   the site.

22           204.    Finally, Facebook generates its main source of revenue from advertisements, including

23   Counterfeit Ads. Facebook retains all revenue earned from Counterfeit Ads, even after being notified

24   that the ads contained infringing content.

25           205.    As a direct and proximate result of Facebook’s failure to block, gate, or otherwise remove

26   Repeat Infringers, along with its other DMCA failures and its violations of its own internal copyright

27
     62
       How Meta helps protect against counterfeits, META, https://www.facebook.com/business/tools/anti-
28   counterfeiting/guide (last visited Feb 16, 2022).

     COMPLAINT (CLASS ACTION)                                                                          62
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 1   infringement policy, Plaintiff and the Class and Subclasses have suffered damages in an amount to be

 2   proven at trial.

 3                           EIGHTH CAUSE OF ACTION
         VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT (§
 4                                   501.201 et seq)
                               (Creators’ Florida Subclass)
 5
 6           206.       Plaintiff realleges and incorporates by reference the allegations in all preceding

 7   paragraphs as if fully set forth herein.

 8           207.       Pursuant to Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”), § 501 et

 9   seq, a business can sue other businesses based upon consumer harm. FDUTPA states that “[u]nfair

10   methods of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in

11   the conduct of any trade or commerce are hereby declared unlawful.” Fla. Stat. § 501.204(1).

12           208.       An unfair practice offends established public policy and is immoral, unethical,

13   oppressive, and unscrupulous or substantially injurious to consumers. Deception occurs if there is a

14   representation, omission, or practice that is likely to mislead the consumer action reasonably in the

15   circumstances, to the consumer’s detriment.

16           209.       Facebook’s conduct, as described herein, creates harm to both Plaintiff and the members

17   of the Class (non-consumers) and Facebook users (consumers). Indeed, Facebook users, lured by

18   Facebook advertisements targeted directly at them, purchase Counterfeit products and receive cheap

19   knockoffs of the advertised product, or nothing at all. The users pay for a product that is materially

20   different than what Facebook advertised. The Creators have their ownership rights violated, lose out on

21   sales and, in the case of artist products, the scams cause irreparable damage to the integrity of the art

22   created and the reputation of the artist. These harms are distinct but are unequivocally detrimental to

23   both groups.

24           210.       The FDUTPA allows Plaintiff and the Class to sue Facebook because Facebook is using

25   unfair, unconscionable, and deceptive trade practices, specifically targeted at misleading and confusing

26   consumers, and this harms both Plaintiff and the Class and consumers.

27
28

     COMPLAINT (CLASS ACTION)                                                                          63
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 1           211.    In any action brought by a person who has suffered loss as a result of a violation of this

 2   part, such person may recover actual damages, plus attorney’s fees and court costs. Fla. Stat. § 501.211

 3   (2).
                                          NINTH CAUSE OF ACTION
 4                                          UNJUST ENRICHMENT
                                         (Nationwide Creators’ Subclass)
 5
 6           212.    Plaintiff realleges and incorporates by reference the allegations in all preceding

 7   paragraphs as if fully set forth herein.

 8           213.    Facebook has a Repeat Infringer Policy that states, in relevant part, “if you repeatedly

 9   post content that infringes someone else’s intellectual property rights, such as copyrights or trademarks,

10   your account may be disabled or your Page or Group removed.”

11           214.    DMCA also requires internet service providers, like Facebook, to adopt and reasonably

12   implement a policy that provides for the termination of users who are Repeat Infringers.

13           215.    Facebook does not reasonably implement its Repeat Infringer Policy. Indeed, Repeat

14   Infringers, like the many listed within this Complaint and others, maintain active accounts, pages, and

15   groups on Facebook. The Facebook pages and groups display active hot links to Counterfeiter websites,

16   where Counterfeiters sell stolen goods.

17           216.    Even if Facebook finds and removes a Counterfeiter advertisement, it retains the revenue

18   collected from those Counterfeiters and allows the Counterfeiters to remain active on the site,

19   advertising the same stolen products again or other stolen products. Facebook continues to earn revenue

20   from Counterfeiters even after it has knowledge that the Counterfeiter is a Repeat Infringer.

21           217.    Facebook has earned, and continues to earn, billions of dollars in profits from

22   Counterfeiters using the advertising platform. Specifically, Facebook earns substantial revenue from

23   Repeat Infringers after it learns the Counterfeiter is a Repeat Infringer.

24           218.    It would be unjust for Facebook to retain the profits that it has earned from Repeat

25   Infringers.

26           219.    Plaintiff and the Creators are entitled to disgorgement of all profits Facebook has unjustly

27   earned and continues to unjustly earn from Counterfeiter Ads displaying their Creative Works.

28                                              PRAYER FOR RELIEF

     COMPLAINT (CLASS ACTION)                                                                            64
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 1          WHEREFORE, Plaintiff and the Class respectfully pray for a judgment in their favor as follows:

 2          A.      For an injunction enjoining Facebook from copying, reproducing, distributing, adapting,

 3                  publishing, advertising or publicly displaying, without prior authorization from Creators,

 4                  Creative Works and requiring Facebook to remove or block any and all Repeat Infringers

 5                  who have been previously reported by Creators for violating ownership rights and/or

 6                  unfair competition laws through the display and distribution of Creative Works and

 7                  Registered Works, or whom it otherwise is aware are Repeat Infringers;

 8          B.      Awarding Plaintiff monetary compensation in the form of actual, consequential, and

 9                  enhanced damages, and any other monetary damages or compensation allowed by law;

10          C.      Awarding maximum statutory damages under 17 U.S.C. § 504(c), in the amount of

11                  $150,000 to Registered Owners, with respect to each timely registered work that was

12                  infringed, for each time it was directly infringed;

13          D.      Awarding Plaintiff’s and the Class’s attorneys’ fees and costs as allowed by law;

14          E.      Awarding Plaintiff and the Class pre- and post-judgment interest; and

15          F.      Ordering any and all further relief as the Court may deem just and proper.

16
17                                                JURY DEMAND

18          Plaintiffs and the Class request a trial by jury on all claims that can be so tried.

19                                                  ZIMMERMAN REED LLP
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     COMPLAINT (CLASS ACTION)                                                 66
